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                           EXHIBIT A
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Cash Transfers of Value Analysis


December 1, 2019
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I. Objectives of the Transfers of Value Analysis




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Objectives of the Transfers of Value Analysis

$WWKHGLUHFWLRQRIWKH6SHFLDO&RPPLWWHHRIWKH%RDUGRI'LUHFWRUVRI3XUGXH3KDUPD,QF WKH³6SHFLDO
&RPPLWWHH´ DQG'DYLV3RON :DUGZHOO//3 ³&RXQVHO´ $OL[3DUWQHUV//3 ³$OL[3DUWQHUV´ KDVSHUIRUPHGD
FRPSUHKHQVLYHWUDQVIHUVRIYDOXHDQDO\VLV

í 7KLVUHSRUW WKH³&DVK7UDQVIHUVRI9DOXH5HSRUW´ VHWVIRUWKWKHUHVXOWVRI$OL[3DUWQHUV VFDVKWUDQVIHUVRI
  YDOXHDQDO\VLV WKH³&DVK7UDQVIHUVRI9DOXH$QDO\VLV´ EDVHGRQWKHLGHQWLILFDWLRQDQGTXDQWLILFDWLRQRI
  WUDQVIHUVRIYDOXHRQRUDIWHU-DQXDU\PDGHDVFDVKGLVWULEXWLRQVFRPSHQVDWLRQOHJDOH[SHQVHVDQG
  EHQHILWVSURYLGHGWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUVDVH[SODLQHGLQJUHDWHUGHWDLORQWKH
  IROORZLQJSDJH

í 7KHDQDO\VLVRILQWHUFRPSDQ\DQGQRQFDVKWUDQVIHUVRIYDOXHPDGHRQRUDIWHU-DQXDU\ZLOOEH
  DGGUHVVHGLQDVHSDUDWHUHSRUW WKH³,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV5HSRUW´ 7KDWUHSRUWZLOOVHW
  IRUWKWKHUHVXOWVRIWKHLGHQWLILFDWLRQDQGTXDQWLILFDWLRQRIWUDQVIHUVRIYDOXHPDGHDV  QRQFDVKWUDQVIHUV
  IURP3XUGXHWRLWVSDUHQW3KDUPDFHXWLFDO5HVHDUFK$VVRFLDWHV/3 ³35$/3´ DQG  FDVKSD\PHQWVIRU
  JRRGVVHUYLFHVDQGRWKHUFRQVLGHUDWLRQLQFOXGLQJZLWKUHVSHFWWRLQWHOOHFWXDOSURSHUW\DPRQJ3XUGXHDQG
  LQGHSHQGHQWDVVRFLDWHGHQWLWLHV ³,$&V´ 5KRGHVDQG,$&VDQG3XUGXHDQG5KRGHV




&DSLWDOL]HGWHUPVVXFKDV³3XUGXH´DQG³5KRGHV´DUHGHILQHGRQWKHIROORZLQJSDJH
                                                                                                                
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Objectives of the Cash Transfers of Value Analysis

7KHREMHFWLYHVRIWKH&DVK7UDQVIHUVRI9DOXH$QDO\VLVZHUHWR

,GHQWLI\DQGTXDQWLI\DOOWUDQVIHUVRIYDOXHIURPWKHIROORZLQJHQWLWLHVDQGWKHLUUHVSHFWLYHVXEVLGLDULHVWR
SDUHQWHQWLWLHVVKDUHKROGHUVDQGRUIDPLO\PHPEHUVDQGRUDQ\RWKHUHQWLW\LQZKLFKEHQHILFLDORZQHUVRU
IDPLOLHVRZQDFRQWUROOLQJLQWHUHVW FROOHFWLYHO\³$IILOLDWHG(QWLWLHV´LQFOXGLQJ,$&V 
í 3XUGXH3KDUPD/3 ³33/3´ WRJHWKHUZLWKLWVVXEVLGLDULHV FROOHFWLYHO\³3XUGXH´ 
í 3XUGXH3KDUPD,QF ³33,´ ZKLFKLVWKHJHQHUDOSDUWQHURI3XUGXHDQG
í &RYHQWU\7HFKQRORJLHV/35KRGHV$VVRFLDWHV/35KRGHV7HFKQRORJLHV,QF5KRGHV7HFKQRORJLHV
  5KRGHV3KDUPDFHXWLFDOV,QFDQG5KRGHV3KDUPDFHXWLFDOV/3 FROOHFWLYHO\³5KRGHV´ 

7KLVDQDO\VLVLQFOXGHGLGHQWLI\LQJDQGTXDQWLI\LQJWKHIROORZLQJWUDQVIHUVRIYDOXHE\3XUGXH33,DQG5KRGHV
RQRUDIWHU-DQXDU\WKURXJK6HSWHPEHUWRWKHH[WHQWVXFKWUDQVIHUVZHUHPDGH
í &DVKGLVWULEXWLRQVWRRUIRUWKHEHQHILWRI$IILOLDWHG(QWLWLHV ³&DVK'LVWULEXWLRQV´ 
í &RPSHQVDWLRQSDLGWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUV
í /HJDOH[SHQVHVLQFXUUHGRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUV
í 3HQVLRQEHQHILWV ³3HQVLRQ%HQHILWV´ SDLGWRWKH6DFNOHU)DPLO\PHPEHUV
í 7UDYHODQGH[SHQVH ³7 (´ UHLPEXUVHPHQWVSDLGWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\DQG
í )ULQJHEHQHILWV ³)ULQJH%HQHILWV´ SURYLGHGWRWKH6DFNOHU)DPLO\PHPEHUV

7KHILQGLQJVDQGUHVXOWVRIRXUDQDO\VLVDUHVHWIRUWKLQWKLV&DVK7UDQVIHUVRI9DOXH5HSRUW




:KLOHRXU&DVK7UDQVIHUVRI9DOXH$QDO\VLVUHODWHGWR33,LVRQJRLQJWKHRQO\FDVKGLYLGHQGVSDLGE\33,GXULQJWKHSHULRG-DQXDU\WKURXJK6HSWHPEHU

WKDWZHKDYHLGHQWLILHGWRGDWHZHUHPLOOLRQRISD\PHQWVPDGHLQDVGHVFULEHGRQSRIWKLV&DVK7UDQVIHUVRI9DOXH5HSRUW                           
$PRXQWVLQFOXGHGWKURXJKRXWWKLV&DVK7UDQVIHUVRI9DOXH5HSRUWUHSUHVHQWDSSUR[LPDWLRQVDQGPD\LQFOXGHURXQGLQJGLIIHUHQFHV
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II. Sources Relied Upon




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Sources Relied Upon
,QRUGHUWRDFKLHYHWKHREMHFWLYHVRIWKH&DVK7UDQVIHUVRI9DOXH$QDO\VLVZHDFFHVVHGDQGUHYLHZHGYDULRXV
VRXUFHVRILQIRUPDWLRQIURP3XUGXH33,5KRGHV7;36HUYLFHV,QF ³7;3´ DQG2QH6WDPIRUG5HDOW\/3
 ³2QH6WDPIRUG5HDOW\´ WKDWZHXVHGDQGUHOLHGRQZKHQSHUIRUPLQJRXUDQDO\VLV5HIHUWR$SSHQGL[$IRUD
PRUHGHWDLOHGOLVWLQJRIWKHVHVRXUFHV
       (QWLW\RUJDQL]DWLRQDOFKDUWV
       6$3DFFRXQWLQJV\VWHPLQIRUPDWLRQ
       3XUGXH¶VDQG5KRGHV¶VLQWHUQDOO\SUHSDUHGGLVWULEXWLRQUHSRUWV
       $XGLWHGILQDQFLDOVWDWHPHQWV
       ,QWHUQDOILQDQFLDOVWDWHPHQWVUHSRUWVVFKHGXOHVDQGRU6$3DFFRXQWLQJUHFRUGVIRU33/35KRGHV33,3/3
         $VVRFLDWHV+ROGLQJV,QFDQGRWKHU$IILOLDWHG(QWLWLHVZKRVHERRNVDQGUHFRUGVDUHPDLQWDLQHGLQWKHVDPH
         6$3DFFRXQWLQJV\VWHP
       $FFRXQWLQJDQGDSSURYDOGRFXPHQWDWLRQIRU&DVK'LVWULEXWLRQVPDGHE\3XUGXHDQG5KRGHVDQGGLYLGHQGV
         SDLGE\33,DQG3/3$VVRFLDWHV+ROGLQJV,QF
       6WDWH&RPSODLQWVDVVHWIRUWKLQ([KLELW*
       3D\UROODQGFRPSHQVDWLRQUHFRUGV
       3XUGXH¶VOHJDOH[SHQVHUHSRUWVSUHSDUHGE\3XUGXH¶V/HJDO'HSDUWPHQW
 3HQVLRQ%HQHILWUHFRUGVDQGUHODWHGGRFXPHQWDWLRQ
 3XUGXH¶V7 (UHSRUWVDFFRXQWVSD\DEOH7 (UHLPEXUVHPHQWSD\PHQWVDQG7 (VXSSRUWLQJGRFXPHQWDWLRQ
 )ULQJH%HQHILWUHFRUGV
 3XUGXH33,5KRGHV7;3DQG2QH6WDPIRUG5HDOW\HPSOR\HHV
         í 7;3SURYLGHVDFFRXQWLQJDQGRWKHUDGPLQLVWUDWLYHVHUYLFHVWR3XUGXHDQG33,2QH6WDPIRUG5HDOW\RZQVWKH
           EXLOGLQJLQZKLFK3XUGXH¶VFRUSRUDWHKHDGTXDUWHUVDUHORFDWHG(PSOR\HHVRIWKHVHHQWLWLHVDVVLVWZLWKWKH
           PDQDJHPHQWRIWKH)ULQJH%HQHILWSURJUDPVSURYLGHGWRWKH6DFNOHU)DPLO\PHPEHUV
3XUGXH¶VDXGLWHGILQDQFLDOVWDWHPHQWVDUHDYDLODEOHIRUWKH\HDUVHQGHG'HFHPEHUWKURXJK'HFHPEHU)RUWKH\HDUHQGHG'HFHPEHUDXGLWILHOGZRUNKDVODUJHO\

EHHQFRPSOHWHGEXWWKHDXG WHGILQDQFLDOVWDWHPHQWVKDYHQRWEHHQILQDOL]HGGXHWRWKHSHQGLQJFRXUWDSSRLQWPHQWRI(UQVW <RXQJ//3DV3XUGXH¶VDXG WRUV3XUGXHDQG5KRGHV¶VFRPELQHG
DXGLWHGILQDQFLDOVWDWHPHQWVDUHDYDLODEOHIRUWKH\HDUVHQGHG'HFHPEHUWKURXJKZLWKLQFOXGHGDVSULRU\HDULQIRUPDWLRQLQWKHUHSRUW$XGLWHGILQDQFLDOVWDWHPHQWV   
IRU5KRGHVRQDVWDQGDORQHEDVLVDUHDYDLODEOHIRU$OODXGLWVZHUHSHUIRUPHGE\(UQVW <RXQJ//3
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III. Executive Summary




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Executive Summary – Compensation to the Sackler Family
Members
3XUGXHSDLGDSSUR[LPDWHO\LQSD\UROOFRPSHQVDWLRQWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\
PHPEHUVRQRUDIWHU-DQXDU\ 5HIHUWR$SSHQGL[%IRUWKH6DFNOHU)DPLO\PHPEHUQDPHVWLWOHVDQG
UHODWLRQVKLSV

                                                                                                                                                                                                                                         Total
                                                                                                                                                                                                                              YTD     January 1,
   Sackler Family Member                              2008           2009            2010           2011           2012           2013           2014           2015           2016            2017           2018         September 2008 through
                                                                                                                                                                                                                            30, 2019  September
                                                                                                                                                                                                                                       30, 2019
   .DWKH$6DFNOHU                                                                                ±   
   0RUWLPHU'$6DFNOHU                                                                                                                                                           ±    
   6DPDQWKD 6DFNOHU +XQW                                                                                                                                                         ±    
   5LFKDUG66DFNOHU                                                                                                                                                            ±    
   'DYLG$6DFNOHU                                            ±                                                                                                                        ±    
   -RQDWKDQ'6DFNOHU                                                                                                                                                             ±    
   5D\PRQG56DFNOHU                                                                                                                                             ±                     ±    
   5HEHFFD6DFNOHU                                           ±              ±              ±                                   ±              ±                                                             ±    
   0DULDQQD6DFNOHU                                            ±              ±              ±              ±              ±              ±              ±               ±                                                 ±    
   ,OHQH6DFNOHU/HIFRXUW                                                                                                                                                          ±    
   -HIIUH\/HIFRXUW                                            ±              ±              ±              ±              ±              ±              ±               ±                                                 ±    
   .DUHQ/HIFRXUW7D\ORU                                       ±              ±              ±              ±              ±              ±              ±               ±                                                 ±    
   $OO2WKHU6DFNOHU)DPLO\0HPEHUV                          ±              ±              ±              ±                        ±              ±                         ±                                         ±    
   Grand Total                                      $ 13,800       $ 15,277       $ 24,280       $ 41,715       $ 38,669       $ 23,200       $ 23,527        $ 36,146       $ 52,383       $ 52,713       $ 49,690        $             –     $      371,400




 7KH6DFNOHU)DPLO\PHPEHUVLQFOXGHGKHUHLQUHFHLYHGKHDOWKFDUHEHQHILWVXQGHU3XUGXH¶VHPSOR\HHEHQHILWVSURJUDPGXULQJWKLVSHULRG7KHYDVWPDMRULW\RIWKHFRPSHQVDWLRQDPRXQWVZHUHGHGXFWHGWRFRYHUWKH6DFNOHU

)DPLO\PHPEHU¶VSRUWLRQRILQVXUDQFHFRVWVDQGWKHVPDOOUHPDLQGHUZDVSDLGLQFDVK
&RPSHQVDWLRQWR.DWKH$6DFNOHULQWKURXJKLQFOXGHVDSSUR[LPDWHO\LQGRPHVWLFSDUWQHUPHGLFDOEHQHILWV                                                                                                                                     
&RPSHQVDWLRQWR5LFKDUG66DFNOHULQLQFOXGHVDSSUR[LPDWHO\LQVSHFLDOFRPSHQVDWLRQDVUHIOHFWHGLQ3XUGXH¶VSD\UROOUHFRUGV
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Executive Summary – Legal Expenses Incurred on Behalf of the
Sackler Family Members
6LQFH-DQXDU\IRUZDUG3XUGXHKDGDFRUSRUDWHLQGHPQLW\SROLF\ WKH³&RUSRUDWH,QGHPQLW\3ROLF\´ 
ZKHUHE\3XUGXHDJUHHGWRSD\OHJDOH[SHQVHVIRU3XUGXH¶V'LUHFWRUV2IILFHUVDQGRWKHU1DPHG$JHQWV DV
GHILQHGLQWKHSROLF\ ZKHQWKRVHH[SHQVHVZHUHUHODWHGWRDFWLRQVWDNHQLQDQRIILFLDOFDSDFLW\
í 7RWDOOHJDOH[SHQVHVLQFXUUHGE\3XUGXHRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVSXUVXDQWWRWKH&RUSRUDWH
  ,QGHPQLW\3ROLF\RQRUDIWHU-DQXDU\ZHUHPLOOLRQ
í 3XUGXHFHDVHGSD\PHQWVRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVIRUOHJDOVHUYLFHVSHUIRUPHGDIWHU
  )HEUXDU\



                                                                                                          




 1RLQGHPQLW\SD\PHQWVZHUHLGHQWLILHGSULRUWRDQG3XUGXH¶V/HJDO'HSDUWPHQWLVQRWDZDUHRIDQ\LQGHPQLILFDWLRQUHTXHVWV SXUVXDQWWRWKLVSRO F\DULVLQJSULRUWR-DQXDU\

:HKDYHUHOLHGRQWKH3XUGXH/HJDO'HSDUWPHQW¶VUHSUHVHQWDWLRQWKDWWKHVHH[SHQVHVUHODWHGWROHJDOVHUYLFHVSHUIRUPHGRQEHKDOI RIWKH6DFNOHU)DPLO\PHPEHUVDQGWKDW3XUGXH
KDVSD GSXUVXDQWWRWKH&RUSRUDWH,QGHPQLW\3ROLF\
                                                                                                                                                                                         
 $PRXQWVDUHVKRZQLQWKHTXDUWHUO\SHULRGZKHQVHUYLFHVZHUHUHQGHUHG QRWSDLG 4LQFOXGHVRQO\OHJDOH[SHQVHVLQFXUUHGIRUVHUYLFHVSHUIRUPHGLQ-DQXDU\DQG)HEUXDU\
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Executive Summary – Pension Benefits Paid to the Sackler Family
Members from Qualified Pension Plan
7RWDO3HQVLRQ%HQHILWVSDLGWRWKH6DFNOHU)DPLO\PHPEHUVSXUVXDQWWR3XUGXH¶VGHILQHGEHQHILWSODQ
 ³3XUGXH¶V3HQVLRQ3ODQ´ RQRUDIWHU-DQXDU\ZHUHPLOOLRQ7KHVH3HQVLRQ%HQHILWSD\PHQWVZHUH
PDGHRXWRIWKHWUXVWDVVHWVRI3XUGXH¶V3HQVLRQ3ODQZKLFKZHUHKHOGVHSDUDWHO\IURP3XUGXH¶VDVVHWV
                                                                                        Retirement
               Sackler Family Member        Pension Benefit Payment
                                                                                            Date
             5LFKDUG66DFNOHU                 
             ,OHQH6DFNOHU/HIFRXUW           
             .DWKH$6DFNOHU                   
             Total                        $                              2,967,977

ʥ $OOWKUHHUHFLSLHQWVRIWKHVH3HQVLRQ%HQHILWVHOHFWHGWRUHFHLYHOXPSVXPSD\PHQWVZKLFKZHUHSDLGZLWKLQ
  RQHPRQWKRIWKHLUUHVSHFWLYHUHWLUHPHQWGDWHVDQGLQDFFRUGDQFHZLWK3XUGXH¶V3HQVLRQV3ODQ
ʥ 7KHSHQVLRQEHQHILWLQIRUPDWLRQOLVWHGKHUHLQUHIOHFWVFRPSHQVDWLRQUHFHLYHGE\FHUWDLQ6DFNOHU)DPLO\
  PHPEHUVSULRUWRLQFOXGLQJEDVHVDODULHVDQGERQXVHV

,QDGGLWLRQ-RQDWKDQ'6DFNOHULVHOLJLEOHIRUDQHDUO\UHWLUHPHQW3HQVLRQ%HQHILWEXWKDVQRWHOHFWHGWR
UHFHLYHWKLVEHQHILWDVRI6HSWHPEHU7KHOXPSVXPSUHVHQWYDOXHRIWKHHDUO\UHWLUHPHQW3HQVLRQ
%HQHILWZDVHVWLPDWHGE\'HORLWWH3XUGXH¶V3HQVLRQ%HQHILWFRQVXOWDQWWREHDSSUR[LPDWHO\PLOOLRQDVRI
$XJXVW2Q$SULOKHEHFRPHVHOLJLEOHIRUIXOOUHWLUHPHQWEHQHILWV

6LPLODUO\0RUWLPHU'$6DFNOHUEHFRPHVHOLJLEOHIRUDQHDUO\UHWLUHPHQW3HQVLRQ%HQHILWRQ-XQHDQG
IRUDIXOOUHWLUHPHQW3HQVLRQ%HQHILWRQ-XQH$FFRUGLQJWR'HORLWWHWKHVHGDWHVDUHWRRIDULQWKH
IXWXUHWRDFFXUDWHO\HVWLPDWHWKHFXUUHQWYDOXHRIWKLV3HQVLRQ%HQHILW




                                                                                                             
                                  19-23649-shl             Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                              Report of
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Executive Summary – T&E Reimbursements to or for the Benefit of
the Sackler Family Members

3XUGXHSDLGPLOOLRQLQ7 (UHLPEXUVHPHQWVWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUVRQRU
DIWHU-DQXDU\1R7 (UHLPEXUVHPHQWVKDYHEHHQVXEPLWWHGE\RUSDLGWRWKH6DFNOHU)DPLO\
PHPEHUVDIWHU0DUFK


í $LUOLQHFKDUJHVUHSUHVHQWWKHODUJHVWFDWHJRU\RI7 (UHLPEXUVHPHQWVDSSUR[LPDWHO\RI7 (
  UHLPEXUVHPHQWVSDLGWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUV

í 7KHUHPDLQLQJ7 (FDWHJRULHVOLVWHGEHORZDFFRXQWIRUDSSUR[LPDWHO\RI7 (UHLPEXUVHPHQWVSDLGWRRU
  IRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUV
    o 7UDQVSRUWDWLRQ 7D[L%XVDQG2WKHU9HKLFOH
    o 0HDOV (QWHUWDLQPHQW
    o +RWHO/RGJLQJ
    o 2WKHU

í ,Q$XJXVWDW3XUGXH¶VUHTXHVW35$/3UHSDLG3XUGXHIRUDSSUR[LPDWHO\RIWKHVH7 (
  UHLPEXUVHPHQWVIRUDYDULHW\RIUHDVRQVLQFOXGLQJWKHGLIILFXOW\LQFRQILUPLQJWKDWWKHVHUHLPEXUVHPHQWV
  ZHUHSURSHUO\FKDUJHDEOHWR3XUGXHUHVXOWLQJLQDQHWSD\PHQWE\3XUGXHRIDSSUR[LPDWHO\




 7 (UHLPEXUVHPHQWVZHUHLGHQWLILHGHLWKHULQDFFRXQWVSD\DEOHRUWKH7 (HOHFWURQLFGHWDLO$FFRXQWVSD\DEOHUHFRUGVZHUHDYDLODEOHIRUWKHHQWLUHSHULRGEXWWKH7 (

HOHFWURQLFGHWDLOIURP3XUGXH¶V7 (UHSRUWLQJV\VWHP'DWDEDV FVZDVDYDLODEOHVWDUWLQJLQ$SULO7 (UHLPEXUVHPHQWVFDWHJRULHVZHUHLQFOXGHGLQWKH7 (HOHFWURQ F   
GHWDLO)RU7 (UHLPEXUVHPHQWVSURFHVVHGWKURXJKDFFRXQWVSD\DEOHZHDVVLJQHGDQH[SHQVHFDWHJRU\IRUHDFK7 (UHLPEXUVHPHQW EDVHGRQLQIRUPDWLRQDYDLODEOHLQ6$3
                                19-23649-shl            Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                                        Report of
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Executive Summary – Reimbursed Fringe Benefits Provided to the
Sackler Family Members
&HUWDLQ6DFNOHU)DPLO\PHPEHUVUHFHLYHG)ULQJH%HQHILWVIURP3XUGXHLQWKHIRUPRIFRPSDQ\SDLGFHOOXODU
SKRQHVFRPSDQ\IOHHWYHKLFOHVDQGVDODU\EHQHILWVIRUSHUVRQDOVHUYLFHHPSOR\HHVRQRUDIWHU-DQXDU\


í 3XUGXHZDVIXOO\UHLPEXUVHGIRUWKHIOHHWYHKLFOHFRVWVDQGSHUVRQDOVHUYLFHHPSOR\HHEHQHILWVE\WKH
  6DFNOHU)DPLO\PHPEHUVLQWKHRUGLQDU\FRXUVHRQDSHULRGLFEDVLV
í 3XUGXHZDVQRWFRQWHPSRUDQHRXVO\UHLPEXUVHGIRUWKHXVHRIFRPSDQ\LVVXHGFHOOXODUSKRQHV+RZHYHULQ
  $XJXVW35$/3UHSDLG3XUGXHDW3XUGXH¶VUHTXHVWWKHIXOODPRXQW DSSUR[LPDWHO\ RIWKH
  FRVWVDVVRFLDWHGZLWKWKH6DFNOHU)DPLO\PHPEHUV¶XVHRIFRPSDQ\LVVXHGFHOOXODUSKRQHVRQRUDIWHU
  -DQXDU\

                                                                                                                         Reimbursed in the Reimbursed in the
                                                                                           Not
                                                                                                                          Ordinary Course   Ordinary Course
                                                                                    Contemporaneously
                                                                                                                           On a Periodic     On a Periodic
                                                                                       Reimbursed
                                                                                                                               Basis             Basis
                                                                                                                                                  1      Personal Service
                                                                                       Cellular Phones                     Fleet Vehicles                                                      Total
                                                                                                                                                            Employees
          7RWDO&RVWWR3XUGXH                                                                                   
                                                                           
          &RQWHPSRUDQHRXV5HLPEXUVHPHQWV&UHGLWV,GHQWLILHG                                               
          1HW7RWDO                                                                                  
          5HSDLGE\35$/3LQ$XJXVW                                                          
          1HW&RVWWR3XUGXH                                                                    


í 1R)ULQJH%HQHILWVZHUHSURYLGHGE\3XUGXHWRWKH6DFNOHU)DPLO\PHPEHUVDIWHU$SULO




 5HLPEXUVHPHQWVLQFOXGHFUHGLWVUHODWHGWRDSSUR[LPDWHO\LQIOHHWLQYRLFHRYHUFKDUJHVDQGLQDXWRPRELOHPDLQWHQDQFH FRVWV,WLVRXUXQGHUVWDQGLQJ

WKDWIOHHWYHKLFOHH[SHQVHVZHUHUHLPEXUVHGE\WKH6DFNOHU)DPLO\PHPEHUVLQWKHRUGLQDU\FRXUVH+RZHYHUEDVHGRQWKHLQIRUPDWLRQDYDLODEOHLQ6$3DQG                                                        
GLVFXVVLRQVZLWK7;3LWLVXQFOHDULI3XUGXHZDVUHLPEXUVHGIRULQDXWRPRELOHPDLQWHQDQFHFRVWV
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IV. Cash Distributions Analysis




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Cash Distributions Analysis - Objectives
7KHREMHFWLYHVRIWKH&DVK'LVWULEXWLRQV$QDO\VLVLQFOXGHWKHIROORZLQJ

 ,GHQWLI\DQGTXDQWLI\WKHDPRXQWRIDOO&DVK'LVWULEXWLRQVPDGHE\3XUGXHDQG5KRGHVRQRUDIWHU-DQXDU\
   WRWKH$IILOLDWHG(QWLWLHV

    í 7KHRUJDQL]DWLRQDOVWUXFWXUHRI3XUGXHDVRI0D\LVLOOXVWUDWHGEHORZ7KLVVWUXFWXUHZKLFKLV
      FXUUHQWDVRIWKHGDWHRIWKLV&DVK7UDQVIHUVRI9DOXH5HSRUWLQFOXGHV5KRGHVDVDVXEVLGLDU\RI3XUGXH
      33/3¶VVXEVLGLDU\HQWLWLHVYDULHGRYHUWLPHDVGLGLWVRZQHUVKLSLQWHUHVWVZLWKSHULRGLFLQWHUQDO
      UHRUJDQL]DWLRQV
    í 5HIHUWR$SSHQGLFHV&DQG(IRUPRUHGHWDLOHGRUJDQL]DWLRQDOFKDUWVIRU3XUGXHDQG5KRGHV

                                        Beneficial Owner                                                     Beneficial Owner
                                        Beacon Company                                                Rosebay Medical Company L.P.
                                 A Delaware General Partnership                                       A Delaware Limited Partnership

                                            50%                                                                        50%

                                                                      Intermediary Affiliated Entities
                                                                     See detailed organizational charts



                                        Purdue Pharma Inc.                                       Pharmaceutical Research Associates L.P.
                                         (General Partner)                                           (Formerly Purdue Holdings L.P.)
                                      A New York Corporation                                         A Delaware Limited Partnership

                                           0%                                                                          100%
                                                                           Purdue Pharma L.P.
                                                                                (Purdue)
                                                                     A Delaware Limited Partnership


                                                                            Subsidiary Entities
                                                                 (includes Rhodes and Avrio Health Inc.)
                                                 See detailed organizational charts for Purdue’s periodic reorganizations



                                                Affiliated Entity - Books and Records                  Beacon/Rosebay – Books and Records Not
                             Purdue
                                                Maintained in the same SAP System as Purdue            Maintained in the same SAP System as Purdue


 7KHDQDO\VLVUHODWHGWR1RQ&DVK'LVWULEXWLRQVPDGHRQRUDIWHU-DQXDU\LVLQFOXGHGLQWKH,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV

5HSRUW                                                                                                                                              
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Cash Distributions Analysis - Objectives

 ,GHQWLI\DQGTXDQWLI\WKHDPRXQWRIWKH&DVK'LVWULEXWLRQVPDGHE\3XUGXHDQG5KRGHVRQRUDIWHU-DQXDU\
   WKDW3XUGXHKDVFODVVLILHGDV863DUWQHU&DVK'LVWULEXWLRQV([86&DVK'LVWULEXWLRQVDQG7D[
   'LVWULEXWLRQVLQ

      í 3XUGXH¶VLQWHUQDOO\SUHSDUHGVXPPDU\RIGLVWULEXWLRQV ³3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV´ 
      í 5KRGHV¶VLQWHUQDOO\SUHSDUHGGLVWULEXWLRQDQDO\VLV ³5KRGHV¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV´ 
      í $XGLWHGILQDQFLDOVWDWHPHQWVDQG
      í 7KH2FWREHUSUHVHQWDWLRQSUHSDUHGE\3XUGXHIRUWKH2SLRLG0XOWLGLVWULFW/LWLJDWLRQ 0'/ LQ
        WKH1RUWKHUQ'LVWULFWRI2KLR WKH³2FWREHU0'/3UHVHQWDWLRQ´ 




3XUGXHDXGLWHGILQDQFLDOVWDWHPHQWVDUHDYDLODEOHIRUWKH\HDUVHQGHG'HFHPEHUWKURXJK'HFHPEHU)RUWKH\HDUHQGHG'HFHPEHUDXG WILHOGZRUNKDV

ODUJHO\EHHQFRPSOHWHGEXWWKHDXG WHGILQDQFLDOVWDWHPHQWVKDYHQRWEHHQILQDOL]HGGXHWRWKHSHQGLQJFRXUWDSSRLQWPHQWRI(UQVW <RXQJ//3DV3XUGXH¶VDXGLWRUV3XUGXHDQG
5KRGHV¶VFRPELQHGDXGLWHGILQDQFLDOVWDWHPHQWVDUHDYDLODEOHIRUWKH\HDUVHQGHG'HFHPEHUWKURXJKZLWKLQFOXGHGDVSULRU\HDULQIRUPDWLRQLQWKHUHSRUW
                                                                                                                                                                                     
$XGLWHGILQDQFLDOVWDWHPHQWVIRU5KRGHVRQDVWDQGDORQHEDVLVDUHDYDLODEOHIRU$OODXGLWVZHUHSHUIRUPHGE\(UQVW <RXQJ //3
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Cash Distributions Analysis - Objectives

 ,GHQWLI\TXDQWLI\DQGUHFRQFLOHWKH&DVK'LVWULEXWLRQVPDGHE\3XUGXHDQG5KRGHVWRWKHDPRXQWVUHSRUWHG
   LQWKHIROORZLQJVRXUFHVRILQIRUPDWLRQ

  í 3XUGXH¶V6$3DFFRXQWLQJV\VWHP
  í 7KH2FWREHU0'/3UHVHQWDWLRQ
  í 3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV
  í 5KRGHV¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV
  í 3XUGXHDQG5KRGHV¶VDXGLWHGILQDQFLDOVWDWHPHQWV
  í 3XUGXH¶V7UHDVXU\'HSDUWPHQWWUDQVDFWLRQUHSRUWV
  í 3XUGXH¶VQRWHVUHFHLYDEOHVFKHGXOHDQG
  í 7KLUGSDUW\GRFXPHQWVLQFOXGLQJ
     o 5HOHYDQWEDQNUHFRUGVDQG
     o 'LVWULEXWLRQVDOOHJHGLQ6WDWH&RPSODLQWV



 ,GHQWLI\DQGJDLQDQXQGHUVWDQGLQJRIWKHIORZRIIXQGVDFWLYLW\UHODWHGWR&DVK'LVWULEXWLRQVPDGHE\
   3XUGXHDQG5KRGHVLQFOXGLQJ

  í +RZ3XUGXHDQG5KRGHVUHFRUGHG&DVK'LVWULEXWLRQVLQLWV6$3DFFRXQWLQJV\VWHP
  í 7KHW\SHVRILQIRUPDWLRQDQGGRFXPHQWDWLRQUHJDUGLQJWKHIORZRIIXQGVIRU&DVK'LVWULEXWLRQVDQG
  í 7KHDXWKRUL]DWLRQSURFHVVRI&DVK'LVWULEXWLRQV


                                                                                                             
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Cash Distributions Analysis - Objectives

 ,GHQWLI\DQGTXDQWLI\WKHDPRXQWRI&DSLWDO&RQWULEXWLRQV UHFHLYHGE\3XUGXHRQRUDIWHU-DQXDU\
   LQWKHIROORZLQJVRXUFHVRILQIRUPDWLRQ

    í 3XUGXH¶V6$3DFFRXQWLQJV\VWHP
    í 7KH2FWREHU0'/3UHVHQWDWLRQ
    í 3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQG
    í $XGLWHGILQDQFLDOVWDWHPHQWV

 ,GHQWLI\DQGTXDQWLI\WKHDPRXQWRI&DSLWDO&RQWULEXWLRQV WKDW5KRGHVUHFHLYHGRQRUDIWHU-DQXDU\
   LQWKHIROORZLQJVRXUFHVRILQIRUPDWLRQ

    í 3XUGXH¶VDFFRXQWLQJV\VWHPZKLFKLQFOXGHGWKHDFFRXQWLQJV\VWHPIRU5KRGHV
    í 'LVWULEXWLRQDXWKRUL]DWLRQVZKLFKFRQWDLQLQIRUPDWLRQUHODWHGWR&DSLWDO&RQWULEXWLRQVUHFHLYHGE\
      5KRGHVDQGZHUHSURYLGHGE\5KRGHV¶V9LFH3UHVLGHQWRI)LQDQFH
    í 5KRGHV¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVZKLFKDOVRLQFOXGHV&DSLWDO&RQWULEXWLRQVUHFHLYHGE\5KRGHV
      DQG
    í $XGLWHGILQDQFLDOVWDWHPHQWV


 ,GHQWLI\DQGJDLQDQXQGHUVWDQGLQJRIWKHIROORZLQJUHJDUGLQJ&DSLWDO&RQWULEXWLRQVUHFHLYHGE\5KRGHVRQ
   RUDIWHU-DQXDU\

    í +RZ&DSLWDO&RQWULEXWLRQVZHUHUHFRUGHGLQ5KRGHV¶V6$3DFFRXQWLQJV\VWHP
    í 7KHW\SHVRILQIRUPDWLRQDQGGRFXPHQWDWLRQUHJDUGLQJWKHIORZRIIXQGVIRU&DSLWDO&RQWULEXWLRQVDQG
    í 7KHDXWKRUL]DWLRQSURFHVVIRU&DSLWDO&RQWULEXWLRQV
&DSLWDO&RQWULEXWLRQVJHQHUDOO\UHSUHVHQWLQYHVWPHQWVPDGHE\,$&VLQ3XUGXHRU5KRGHV
                                                                                                                
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Cash Distributions Analysis – Procedures Performed

,QRUGHUWRDFKLHYHWKHREMHFWLYHVRIWKH&DVK'LVWULEXWLRQV$QDO\VLVZHSHUIRUPHGWKHIROORZLQJSURFHGXUHV

 &ROOHFWHGVRXUFHVRILQIRUPDWLRQDQGGRFXPHQWDWLRQIURP3XUGXH



 ,GHQWLILHGTXDQWLILHGDQGUHFRQFLOHG&DVK'LVWULEXWLRQVUHFRUGHGLQ3XUGXH¶VDQG5KRGHV¶V,QWHUQDO
   'LVWULEXWLRQV$QDO\VHVDQG6$3DFFRXQWLQJV\VWHPDQGWKH2FWREHU0'/3UHVHQWDWLRQ



 9DOLGDWHGDQGUHFRQFLOHG&DVK'LVWULEXWLRQDPRXQWVUHSRUWHGLQ3XUGXHDQG5KRGHV¶VILQDQFLDOVWDWHPHQWV
   DQGH[WHUQDOVRXUFHV



 7UDFHGWKHIORZRIIXQGVIRUHDFK3XUGXHDQG5KRGHV&DVK'LVWULEXWLRQ FODVVLILFDWLRQ 1RQ7D[863DUWQHU
   1RQ7D[([86DQG7D['LVWULEXWLRQV PDGHDFURVVYDULRXV\HDUV



  í 5HIHUWR([KLELW$IRUPRUHGHWDLOHGSURFHGXUHVSHUIRUPHG
  í 5HIHUWR([KLELW(IRUWKH3XUGXH&DVK'LVWULEXWLRQV7UDFLQJ$QDO\VLV
  í 5HIHUWR([KLELW)IRUWKH5KRGHV&DVK'LVWULEXWLRQV7UDFLQJ$QDO\VLV




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IV.A Combined Purdue and Rhodes Cash
     Distributions




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Purdue/Rhodes Net Cash Distributions – Findings

 7RWDO1HW&DVK'LVWULEXWLRQVSDLGE\3XUGXHDQG5KRGHVWRRUIRUWKHEHQHILWRIWKH$IILOLDWHG(QWLWLHVRQRU
   DIWHU-DQXDU\DUHLQFOXGHGLQWKHWDEOHEHORZ
                                                                     Purdue Net Cash Distributions                                                                                Rhodes Net Cash Distributions
      dollars in '000s             Purdue                                            Purdue
                                US Partner                 Purdue               Investment in               Purdue                  Purdue                 Rhodes                                      Eliminate Purdue                Rhodes
                                      Cash             Ex-US Cash                 Associated                   Tax                Total Cash        US Partner Net                 Rhodes Tax          Cash Distributions            Total Net             Total Net Cash
                                                                           2                       1
         Year                 Distributions          Distributions               Companies              Distributions           Distributions      Cash Distributions             Distributions             to Rhodes          Cash Distributions           Distributions
                            ±      ±     
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                                                                      ±                       ±                                                          ±                                           ±                                      
 Subtotal 2008-2017          $       4,212,798      $        1,358,928 $                   187,683 $          4,558,775       $     10,318,184 $                    31,000 $                121,496 $             (124,001)                     28,495 $         10,346,679
$GGLW RQDO1RQ3XUGXH
 'LVWULEXW RQ,GHQWLILHG
  LQ5HFRQFLOLDWLRQWR
   6WDWH&RPSODLQWV                                         ±                        ±                      ±                                             ±                     ±                       ±                          ±                 
  Total as Adjusted          $     4,242,798        $       1,358,928       $          187,683       $      4,558,775         $    10,348,184        $             31,000     $         121,496       $        (124,001) $                  28,495      $     10,376,679



       í &DVK'LVWULEXWLRQVJHQHUDOO\IORZHGXSIURP3XUGXHWRDQGWKURXJK35$/3DQGZHUHHLWKHULQYHVWHGLQ
         ,$&VRUFRQWLQXHGWRIORZXSWKURXJKRWKHUKROGLQJFRPSDQLHVWRWUXVWVHVWDEOLVKHGIRUWKHEHQHILWRIWKH
         6DFNOHU)DPLO\PHPEHUVRUWRWD[LQJDXWKRULWLHV5HIHUWR([KLELW(DQG)IRURXUIORZRIIXQGVDQG
         WUDFLQJDQDO\VHVIRU3XUGXHDQG5KRGHVUHVSHFWLYHO\
       í :HGLGQRWILQGDQ\LQVWDQFHVZKHUHGLVWULEXWLRQDPRXQWVDOOHJHGLQWKH6WDWH&RPSODLQWVGXULQJD
         SDUWLFXODUWLPHSHULRGH[FHHGHGGLVWULEXWLRQVDPRXQWVUHSRUWHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV
         IRUWKDWVDPHWLPHSHULRG5HIHUWR([KLELW*IRUPRUHGHWDLOV
       í 1HW&DVK'LVWULEXWLRQVFRQWDLQFUHGLWVLQWKHDPRXQWRIPLOOLRQIRUIXQGVUHLQYHVWHGLQ3XUGXHE\
         35$/3DQGPLOOLRQIRUWD[UHIXQGVUHFHLYHGE\3XUGXH

       í 3XUGXHGLGQRWPDNHDQ\&DVK'LVWULEXWLRQVDIWHU
       í 5KRGHVSDLGLQ7D['LVWULEXWLRQVLQZKLFKDUHQRWLQFOXGHGLQWKHDPRXQWVDERYH5KRGHV
         GLGQRWPDNHDQ\&DVK'LVWULEXWLRQVDIWHU
3XUGXHUHFRUGHGPLOOLRQLQ([86'LVWULEXWLRQVDV,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHVZKLFKUHSUHVHQWHGFDVKWKDWIORZHGWRDZKROO\RZQHGHQWLW\RI3XUGXHDQGWKHQWRDQ([86$IILOLDWHG(QWLW\
&DVK'LVWULEXWLRQVGRQRWLQFOXGHPLOOLRQRIORDQVWR35$/ 3DOORIZKLFKKDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW
 $GGLWLRQDO1RQ3XUGXH'LVWULEXWLRQUHIOHFWVDGLVWULEXWLRQPDGHE\0LOOVDZ5HDOW\/3IRUPHUO\DVXEVLGLDU\RI3XUGXHWR%HDFRQ&RPSDQ\DQG5RVHED\0HGLFDO&RPSDQ\/3DSSDUHQWO\PDGHDWWKH                                                               
GLUHFWLRQRI3XUGXH7KLVDPRXQWZDVLGHQWLILHGLQWKHUHFRQFLOLDWLRQWRWKH6WDWH&RPSODLQWV5HIHUWR([KLELW*IRUPRUHGHWDLOVUHJDUGLQJWKLVUHFRQFLOLDWLRQ
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Combined Purdue and Rhodes Cash Distributions Identified in SAP

 $VLOOXVWUDWHGLQWKHWDEOHEHORZZHGHWHUPLQHGWKDWRIWKHJURVVFDVKWUDQVIHUDPRXQWVWKDWDUH
   UHSRUWHGLQ3XUGXH¶VDQG5KRGHV¶V,QWHUQDO'LVWULEXWLRQ$QDO\VHVZKLFKLQFOXGH&DVK'LVWULEXWLRQVDQG
   ORDQVPDGHE\3XUGXHWR35$/3LQPDWFKWKHDFFRXQWVSD\DEOHYHQGRUSD\HHQDPHDQGSD\PHQW
   DPRXQWWKDWDUHUHFRUGHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHOHGJHU5HIHUWR([KLELWV(DQG)&DVK
   'LVWULEXWLRQVWUDFLQJDQDO\VHVIRU3XUGXHDQG5KRGHVUHVSHFWLYHO\
                            A                                                                                                                                            B                       C             A / (B-C) = D
                                               Purdue and Rhodes Distributions Identified in Accounts Payable for Amount and Payee (dollars in '000s)
                      Cash Transfers to
                                                                      Cash Transfers
                     Affiliated Entities /                                                                                               Contributions From    Gross Cash Transfers to   Cash Distributions
                                                Total Net Cash    Identified in Accounts      Accrued              Contributions From                                                                           % Identified in
       Year              Subsidiaries                                                                                                   Purdue Holdings L.P.     Affiliated Entities /   Not Paid Through
                                                 Distributions      Payable Related to      Distributions           Purdue to Rhodes                                                                           Accounts Payable
                        Identified in                                                                                                     and Tax Refunds            Subsidiaries        Accounts Payable
                                                                           Loans
                     Accounts Payable
       2008        $             1,382,839 $            1,377,330 $                  -  $                 -    $                 1,500 $               8,879 $             1,387,709 $                    -                99.6%
       2009                      1,707,938              1,710,943                    -                    -                     19,301                 3,424               1,733,668                      -                98.5%
       2010                      1,629,269              1,626,181                    -                    -                     14,200                 2,341               1,642,722                      -                99.2%
       2011                      1,262,969              1,231,153                    -                    -                     20,000                34,095               1,285,248                   5,608               98.7%
       2012                      1,068,617                999,003                    -                    -                     39,000                35,846               1,073,849                   4,553               99.9%
       2013                        957,667                922,981                    -                    -                     20,000                20,236                 963,217                   4,633               99.9%
       2014                        867,670                832,059                    -                    -                     10,000                35,486                 877,545                   3,042               99.2%
       2015                        913,081                803,245                    -                107,000                       -                  7,413                 917,658                   3,340               99.9%
       2016                        568,451                656,904                    -               (107,000)                      -                 23,712                 573,616                   1,607               99.4%
       2017                        397,648                186,880               246,739                   -                         -                     -                  433,619                  35,763               99.9%
       Total       $            10,756,149 $           10,346,679 $             246,739 $                 -    $               124,001 $             171,432 $            10,888,851 $                58,546               99.3%



      í Column C  :HXQGHUVWDQGWKDWWKHIROORZLQJFDWHJRULHVRIGLVEXUVHPHQWVZHUHUHFRUGHGE\JHQHUDO
        OHGJHUHQWU\LQVWHDGRIWKURXJKWKH6$3DFFRXQWVSD\DEOHOHGJHUV\VWHP
          o )UDFWLRQDOGLVWULEXWLRQVPDGHWR33,DQG3/3$VVRFLDWHV+ROGLQJV,QF HJ³6OLYHU'LVWULEXWLRQV´ 
          o $PLOOLRQ7D['LVWULEXWLRQIURP3XUGXHWR35$/3LQ
      í %DVHGRQGLVFXVVLRQVZLWK3XUGXHDQG7;3WKHUHPDLQLQJDPRXQWVQRWLGHQWLILHGLQWKH6$3DFFRXQWV
        SD\DEOHOHGJHUJHQHUDOO\UHODWHWRVPDOOLQGLYLGXDOSD\PHQWVWRWD[LQJDXWKRULWLHVZKLFKDUHGLIILFXOWWR
        LGHQWLI\GXHWRFRPELQDWLRQZLWKRWKHULWHPVRUHQWULHV
      í 5HIHUWR$SSHQGLFHV'DQG)IRU6$3FRPSDQ\FRGHVIRU3XUGXHDQG5KRGHVUHVSHFWLYHO\
7KHFODVVLILFDWLRQDVD7D['LVWULEXWLRQLVEDVHGXSRQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGWKH2FWREHU0'/3UHVHQWDWLRQ7KLV7D['LVWULEXWLRQ

GRHVQRWDSSHDUWRKDYHEHHQWUDQVIHUUHGEH\RQG35$/3                                                                                                                                                                          
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Purdue/Rhodes Cash Distributions Identified in SAP
 7KH3XUGXHDQG5KRGHVFDVKWUDQVIHUVLGHQWLILHGLQWKH6$3DFFRXQWVSD\DEOHOHGJHUDUHVXPPDUL]HGEHORZ
   5HIHUWR([KLELW&IRUWKH3XUGXHDQG5KRGHVGHWDLOHGVFKHGXOHVRI&DVK'LVWULEXWLRQV
                                    Purdue and Rhodes Distributions Identified in Accounts Payable for Amount and Payee (dollars in '000s)
                                                                                 Total Non-Tax                                                                                                         Cash Transfers to
                                    Other Affiliated
                Beacon / Rosebay                        Cumulative              Cash Transfers to      Beacon / Rosebay                                    Cumulative                   Total Tax     IACs / Subsidiaries
      Year                             Entities /                                                                          State/Local      Federal
                    Non-Tax                              Rounding              Affiliated Entities /         Tax                                            Rounding                  Distributions      Identified in
                                     Subsidiaries
                                                                                   Subsidiaries                                                                                                        Accounts Payable

      2008     $        625,629 $           200,478 $                -         $         826,107 $               5,879 $         30,356 $      520,497 $                -         $         556,732 $        1,382,839
      2009             879,134              111,576                      (1)             990,709               363,238           44,486        309,504                       1              717,229          1,707,938
      2010             862,196              108,709                      (1)             970,904               332,445           35,978        289,943                      (1)             658,365          1,629,269
      2011             599,727              115,114                  -                   714,841               269,127           39,827        239,175                      (1)             548,128          1,262,969
      2012             466,900              134,394                  -                   601,294               232,814           28,372        206,138                      (1)             467,323          1,068,617
      2013              318,928             230,567                       1              549,496               217,747           26,311        164,113                  -                   408,171            957,667
      2014              177,350             210,402                      (1)             387,751               255,508           28,255        196,157                      (1)             479,919            867,670
      2015              320,004             217,725                      (1)             537,728               146,340           24,443        204,573                      (3)             375,353            913,081
      2016               87,591             226,739                  -                   314,330               123,610           18,869        111,642                  -                   254,121            568,451
      2017              107,013             139,712                  -                   246,725                72,235           29,088         49,600                  -                   150,923            397,648
      Total    $      4,444,472           1,695,416 $                    (3) $         6,139,885 $           2,018,943 $        305,985 $    2,291,342 $                    (6) $         4,616,264 $       10,756,149

      í 7KHFODVVLILFDWLRQRI1RQ7D[FDVKWUDQVIHUVDQG7D['LVWULEXWLRQVLQWKHDERYHWDEOHLVEDVHGRQ
        3XUGXH¶V,QWHUQDO'LVWULEXWLRQV$QDO\VLVDQGWKH2FWREHU0'/3UHVHQWDWLRQ
      í 7KH1RQ7D[FDVKWUDQVIHUVLQFOXGH&DVK'LVWULEXWLRQVDQGPLOOLRQRIFDVKWUDQVIHUVUHODWHGWR
        ORDQVWKDW3XUGXHPDGHWR35$/3LQZKLFK35$/3WKHQWUDQVIHUUHGWR([86$IILOLDWHV
        7KHVHORDQVKDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW
      í $VHDUFKZDVUXQLQWKH6$3DFFRXQWVSD\DEOHOHGJHUWRGHWHUPLQHLIDQ\RIWKHSD\HHVNQRZQWRKDYH
        UHFHLYHG&DVK'LVWULEXWLRQVUHFHLYHGDQ\RWKHULQGLYLGXDOSD\PHQWVLQH[FHVVRIPLOOLRQWKDWZHUH
        QRWUHFRUGHGDV&DVK'LVWULEXWLRQVRUORDQVLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV6$3DFFRXQWV
        SD\DEOHOHGJHURUDXGLWHGILQDQFLDOVWDWHPHQWV7KHVHDUFKIRUSD\HHQDPHVLQFOXGHGWD[LQJ
        DXWKRULWLHV 6$3LQGXVWU\FRGH7$; RU$IILOLDWHG(QWLWLHV 6$3LQGXVWU\FRGHV$),/DQG'67' 1R
        LQVWDQFHVRIXQUHFRUGHGFDVKGLVWULEXWLRQVORDQVRURWKHUFDVKWUDQVIHUVWRWKHVHWD[LQJDXWKRULWLHVRU
        $IILOLDWHG(QWLWLHVZHUHLGHQWLILHGDVDUHVXOWRISHUIRUPLQJWKLVDQDO\VLV
      í 5HIHUWR$SSHQGLFHV'DQG)IRUFRPSDQ\QDPHVDQG6$3DFFRXQWLQIRUPDWLRQIRU3XUGXHDQG
        5KRGHVUHVSHFWLYHO\
:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3DQGRU

%HDFRQ&RPSDQ\XVHGWKH7D['LVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV                                                                                                         
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IV.B Purdue Cash Distributions




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Purdue Cash Distributions – Findings
 7RWDO1HW&DVK'LVWULEXWLRQVSDLGE\3XUGXHWRRUIRUWKHEHQHILWRIWKH$IILOLDWHG(QWLWLHVRQRUDIWHU-DQXDU\
   DUHLQFOXGHGLQWKHWDEOHEHORZ 5HIHUWRWKH3XUGXH5KRGHV&DVK'LVWULEXWLRQV$QDO\VLVVHFWLRQRI
   WKLV&DVK7UDQVIHUVRI9DOXH5HSRUWIRUDGGLWLRQDOLQIRUPDWLRQUHJDUGLQJ3XUGXH¶V&DVK'LVWULEXWLRQV
                                                                                        Purdue Net Cash Distributions
                                         dollars in '000s                                                             Investments
                                                                           US Partner              Ex-US             in Associated                      Net Tax      Total Net Cash
                                            Year                       Net Distributions Distributions                 Companies                   Distributions Distributions
                                                                    ±              
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                                                                                                                    ±                              
                                                                                                                    ±                                
                                                                                                                    ±                                
                                                                                                                    ±                                
                                                                                                                    ±                                
                                                                                                            ±                  ±                                
                                   Subtotal 2008-2017                           4,212,798          1,358,928                 187,683                    4,558,775       10,318,184
                                   $GGLWLRQDO1RQ3XUGXH
                                   'LVWULEXWLRQ,GHQWLILHG
                                    LQ5HFRQFLOLDWLRQWR
                                     6WDWH&RPSODLQWV                                                     ±                        ±                      ±                
                                      Adjusted Total                    $        4,242,798          $   1,358,928          $       187,683         $    4,558,775         $ 10,348,184

     í 7KHPLOOLRQRI863DUWQHU1HW'LVWULEXWLRQVPDGHLQLQFOXGHVWZRPLOOLRQ&DVK
       'LVWULEXWLRQVRQHWR33,DQGWKHRWKHUWR3/3$VVRFLDWHV+ROGLQJV,QF
            o 33,ZKLFKLV33/3¶VJHQHUDOSDUWQHUSDLGPLOOLRQLQGLYLGHQGVWRWKHIROORZLQJ$IILOLDWHG(QWLWLHV
              PLOOLRQWR%DQHOD&RUSRUDWLRQPLOOLRQWR/LQDULWH+ROGLQJV//&DQGPLOOLRQWR3HUWKOLWH
              +ROGLQJV//&
            o 3/3$VVRFLDWHV+ROGLQJV,QFSDLGPLOOLRQLQGLYLGHQGVWRWKHIROORZLQJ$IILOLDWHG(QWLWLHVPLOOLRQ
              WR%DQHOD&RUSRUDWLRQPLOOLRQWR/LQDULWH+ROGLQJV//&DQGPLOOLRQWR3HUWKOLWH+ROGLQJV//&
            o 3XUGXH¶V1RQ7D[&DVK'LVWULEXWLRQ6HOHFWLRQLQFOXGHGLQWKH3XUGXH&DVK'LVWULEXWLRQV7UDFLQJ
              $QDO\VLVVHFWLRQFRQWDLQVDQLOOXVWUDWLRQRIKRZWKHIXQGVIORZHGIURP33/3WR33,DQG3/3$VVRFLDWHV
              +ROGLQJV,QFZKLFKWKHQSDLGGLYLGHQGVWR$IILOLDWHG(QWLWLHV
&DVK'LVWULEXWLRQVGRQRWLQFOXGHPLOO RQRIORDQVWR35$/3DOORIZKLFKKDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW3XUGXHGLGQRWPDNH&DVK'LVWULEXWLRQVDIWHU
:KLOHRXU&DVK7UDQVIHUVRI9DOXH$QDO\VLVUHODWHGWR33,LVRQJRLQJWKHRQO\FDVKGLYLGHQGVSD GE\33,GXULQJWKHSHULRG-DQXDU\WKURXJK6HSWHPEHUWKDWZH
                                                                                                                                                                                              
KDYHLGHQWLILHGWRGDWHZHUHPLOOLRQRISD\PHQWVPDGHLQ
                                       19-23649-shl                     Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                                                                              Report of
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Purdue Cash Distribution Reconciliation Results1
 $UHFRQFLOLDWLRQRI3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVWRWKHDXGLWHGILQDQFLDOVWDWHPHQWVLVVXPPDUL]HG
   EHORZ5HIHUWR([KLELW%IRUDPRUHGHWDLOHGUHFRQFLOLDWLRQVFKHGXOH
           dollars in '000s                                                         2008                 2009                 2010                  2011                  2012                 2013               2014               2015               2016               2017
           Distributions to Partners:

               *URVV863DUWQHU'LVWULEXWLRQV                                                                                                 
               5HLQYHVWPHQWLQ3XUGXH                                                       ±                    ±                    ±                                                                                                         ±
               Subtotal Net US Partner Distributions                           $ 752,120            $ 898,949            $ 859,950             $ 553,552             $ 439,342             $ 298,319          $ 127,505          $ 235,788          $ 47,074           $        199

               Ex-US Distributions                                             $               –    $               –    $    112,381          $    113,306          $    122,394          $ 234,447          $ 232,023          $ 297,019          $ 247,358          $         –
               &ODVVLILHGDVGLVWULEXWLRQVSHUDXG WORDQVSHUERRNV                                                                                                                                                                                                  
               Subtotal Ex-US Distributions                                    $               –    $               –    $    112,381          $    113,306          $    122,394          $ 234,447          $ 232,023          $ 297,019          $ 247,358          $ 246,739


               Investment in Associated Companies                              $      76,107        $    111,576         $               –     $               –     $               –     $            –     $            –     $            –     $            –     $            –

               *URVV7D['LVWULEXWLRQV                                                                                                                                                                     
               7D[5HIXQGV$SSOLHG                                                                                                                           ±                  ±                  ±                  ±                                  ±
               Subtotal Tax Distributions                                      $    540,203         $    710,916         $    653,842          $    555,949          $    459,522          $ 400,849          $ 435,569          $ 366,111          $ 249,273          $ 186,541

                  $FFUXHGGLVWULEXWLRQUHYHUVDO                                                ±                    ±                     ±                     ±                     ±                  ±                  ±                                          ±

           Net Cash Distributions                                              $ 1,368,430          $ 1,721,441          $ 1,626,173           $ 1,222,808           $ 1,021,258           $ 933,615          $ 795,096          $ 791,917          $ 650,705          $ 186,740

               5HFRQFLOLQJLWHPVWRDXG WUHSRUWV                                                                                                                                                                                         

           Amount per reconciliation                                           $ 1,369,251          $ 1,722,202          $ 1,626,922           $ 1,223,539           $ 1,021,989           $ 938,789          $ 798,000          $ 792,651          $ 652,989          $ 444,094

           Amount per audited financial statements
              'LVWULEXWLRQVWR3DUWQHUVIURPDXG WHGVWDWHPHQWVRIFDVKIORZ                                                                         
              ,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHVIURPDXG WHG
                 VWDWHPHQWVRIFDVKIORZV                                                                             ±                     ±                     ±                   ±                  ±                  ±                  ±                  ±
           Total from audited financial statements                             $ 1,369,252          $ 1,722,203          $ 1,626,922           $ 1,223,539           $ 1,021,989           $ 938,788          $ 798,000          $ 792,651          $ 652,989          $ 444,093

           'LIIHUHQFH URXQGLQJ                                                        ±   ±   ±      ±   ±   ±   


      í ([86&DVK'LVWULEXWLRQVPDGHWR$IILOLDWHG(QWLWLHVLQWRWDOLQJPLOOLRQUHSUHVHQWFDVK
        WUDQVIHUVWR35$/3ZKLFK35$/3WKHQWUDQVIHUUHGWR([86$IILOLDWHV$VUHTXLUHGE\*HQHUDOO\
        $FFHSWHG$FFRXQWLQJ3ULQFLSOHV ³*$$3´ PLOOLRQRIWKLVDPRXQWZDVUHFRUGHGDV&DVK
        'LVWULEXWLRQVLQ3XUGXH¶VDXGLWHGILQDQFLDOVWDWHPHQWVIRUWKH\HDUHQGHG'HFHPEHU35$/3
        VXEVHTXHQWO\LVVXHGSURPLVVRU\QRWHVIRUWKHVHFDVKWUDQVIHUVWR3XUGXHDQGWKHIXOODPRXQWVRIWKHVH
        ORDQV PLOOLRQ KDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW
      í ,QDQG3XUGXHUHSRUWHGFDVKSDLGWR([86$IILOLDWHG(QWLWLHVDVDQ,QYHVWPHQWLQ$VVRFLDWHG
        &RPSDQLHV7KHVHDPRXQWVZHUHUHFRUGHGLQDXGLWHGILQDQFLDOVWDWHPHQWVDVLQYHVWLQJDFWLYLWLHVLQWKH
        VWDWHPHQWVRIFDVKIORZV$IWHU([86'LVWULEXWLRQVZHUHUHFRUGHGDVHTXLW\GLVWULEXWLRQVDQG
        LQFOXGHGDVVXFKLQWKHDXGLWHGILQDQFLDOVWDWHPHQWVRIHTXLW\DQGVWDWHPHQWVRIFDVKIORZV
 7KHUHFRQFLOLDWLRQDERYHLVEDVHGRQ3XUGXH¶VDXGLWHGILQDQFLDOVWDWHPHQWVWKDWGRQRWLQFOXGHWKHFRPELQHGILQDQFLDOUHVXOWV IRU5KRGHV
3XUGXHUHFRUGHGPLOOLRQLQ([86'LVWULEXWLRQVDV,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHVZKLFKUHSUHVHQWHGFDVKWKDWIORZHGWRDZKROO\RZQHGHQWLW\RI3XUGXHDQGWKHQWRDQ                                                                                                      
([86$IILOLDWHG(QW W\3XUGXHVXEVHTXHQWO\GLVWULEXWHGLWVRZQHUVKLSLQWHUHVWLQWKLVVXEVLGLDU\ZKLFKLVGLVFXVVHGLQWKH,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV5HSRUW
                                        19-23649-shl                    Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                                            Report of
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Purdue Cash Distribution Reconciliation Results
 7KHWDEOHEHORZUHFRQFLOHV3XUGXH¶V1HW&DVK'LVWULEXWLRQVLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ
   $QDO\VLVWRWKH2FWREHU0'/3UHVHQWDWLRQ1RQ&DVK'LVWULEXWLRQVDUHGLVFXVVHGVHSDUDWHO\LQWKH
   ,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV5HSRUW
                                                     Purdue Net Cash and Non-Cash Distributions                                                                    Reconciliation to the October 19, 2018 MDL Presentation
      dollars in '000s                                    Investment in                                                                                                                       dollars in millions
              US Partner          Ex-US Cash                Associated                    Tax          Total Net Cash         Non-Cash               Total                            Purdue                                 MDL
  Year    Cash Distribution Distributions                   Companies             Distributions          Distributions      Distributions Distributions                   Cash           Non-Cash                   Cash        Non-Cash
        ±                   
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                                                           ±                                                                                                     
                                                           ±                                              ±                                 ±                             ±
                                                           ±                                              ±                                 ±                             ±
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                                                           ±                                                                                                             
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                                                           ±                                                ±                                  ±                               ±
                                               ±                      ±                                                                                                          
  Total    $      4,212,798 $         1,358,928           $         187,683      $      4,558,775      $     10,318,184 $          409,163 $ 10,727,347            $          10,318 $                 409     $       10,318 $           409

    í $VLOOXVWUDWHGDERYHWKHUHVXOWVRIRXUUHFRQFLOLDWLRQYDOLGDWHGWKDW3XUGXH¶V1HW&DVK'LVWULEXWLRQDQG
      1RQ&DVK'LVWULEXWLRQDPRXQWVUHSRUWHGLQWKH2FWREHU0'/3UHVHQWDWLRQDUHFRQVLVWHQWZLWK
      WKH1HW&DVK'LVWULEXWLRQVDQG1RQ&DVK'LVWULEXWLRQDPRXQWVWKDWDUHUHFRUGHGLQ3XUGXH¶V,QWHUQDO
      'LVWULEXWLRQ$QDO\VLV
    í :HGLGQRWILQGDQ\LQVWDQFHVZKHUHGLVWULEXWLRQDPRXQWVDOOHJHGLQWKH6WDWH&RPSODLQWVGXULQJD
      SDUWLFXODUWLPHSHULRGH[FHHGHGGLVWULEXWLRQVDPRXQWVUHSRUWHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV
      IRUWKDWVDPHWLPHSHULRG5HIHUWR([KLELW*IRUPRUHGHWDLOV
    í 7KHWDEOHEHORZVXPPDUL]HV3XUGXH¶V7RWDO&DVK7UDQVIHUVDQG1RQ&DVK'LVWULEXWLRQVLQFOXGHGLQWKH
      2FWREHU0'/3UHVHQWDWLRQIRUWKHSHULRG-DQXDU\WKURXJK6HSWHPEHU
                         Summary of Purdue's Total Cash Transfers and Non-Cash Distributions included in the October 19, 2018 MDL Presentation
                                                   January 1, 1995 through September 30, 2018 (dollars in millions)
  3XUGXH V7RWDO&DVKDQG1RQ&DVK'LVWULEXWLRQV -DQXDU\WKURXJK'HFHPEHUQRWLQFOXGHGDERYH                                                                                                                 
  3XUGXH V7RWDO&DVKDQG1RQ&DVK'LVWULEXWLRQV -DQXDU\WKURXJK6HSWHPEHULQFOXGHGDERYH                                                                                                                    
  3XUGXH V/RDQVWR35$/3LQFOXGHGLQWKH2FWREHU0'/3UHVHQWDWLRQWKDWZHUH&ODVVLILHGDV&DVK'LVWULEXWLRQVIRUILQDQFLDOVWDWHPHQWSXUSRVHV
                                                                                                                                                                                                                                 
  XQGHU*$$3DVRI'HFHPEHUDQGZKLFKKDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW DVSUHYLRXVO\H[SODLQHGDQGQRWLQFOXGHGDERYH
  5RXQGLQJ'LIIHUHQFH                                                                                                                                                                                                            
  Purdue's Total Cash Transfers and Non-Cash Distributions included in the October 19, 2018 MDL Presentation
                                                                                                                                                                                                                                $ 12,297
  (January 1, 1995 through September 30, 2018)

 3XUGXHUHFRUGHGDQDFFUXHGGLVWULEXWLRQRIPLOOLRQDVRI'HFHPEHUZKLFKZDVQRWSDLGXQWLO7KH2FWREHU 

0'/3UHVHQWDWLRQUHIOHFWHGGLVWULEXWLRQVLQWKH\HDUDFFUXHG7KLVLVDWLPLQJGLIIHUHQFHRQO\DQGKDVQRQHWHIIHFWRQ7RWDO 1HW&DVK                                                                                                           
'LVWULEXWLRQVIRUWKHWHQ\HDUSHULRGIURP-DQXDU\WKURXJK'HFHPEHU
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IV.C Rhodes Cash Distributions




                                                                                       
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Rhodes Cash Distributions – Findings

 PLOOLRQRI7RWDO&DSLWDO&RQWULEXWLRQVUHFHLYHGE\5KRGHVZHUHLGHQWLILHGDQGTXDQWLILHGLQWKH
   5KRGHV,QWHUQDO'LVWULEXWLRQ$QDO\VLV7KHVH&DSLWDO&RQWULEXWLRQVZHUHPDGHE\%HDFRQ&RPSDQ\DQG
   5RVHED\0HGLFDO&RPSDQ\/3
  í PLOOLRQRI&DVK'LVWULEXWLRQVIURP3XUGXHDUHUHFRUGHGDV863DUWQHU&DVK'LVWULEXWLRQVLQ
    3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDVSD\DEOHWKURXJKLWVRZQHUVKLSLQWHUHVWWR%HDFRQ&RPSDQ\DQG
    5RVHED\0HGLFDO&RPSDQ\/37KHUHLVXVXDOO\DQRWDWLRQLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV
    ZKHQ3XUGXH¶VGLVWULEXWLRQVZHUHXOWLPDWHO\LQWHQGHGDVFRQWULEXWLRQVWR5KRGHV
  í 2IWKHPLOOLRQLQ3XUGXH&DVK'LVWULEXWLRQVUHFHLYHGDV&DSLWDO&RQWULEXWLRQVE\5KRGHV
    PLOOLRQZHUHVSHFLILFDOO\LGHQWLILHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDVLQWHQGHGWRIXQG5KRGHV
    DQGDUHLQFOXGHGLQWKHWRWDORIELOOLRQLQ3XUGXH7RWDO1HW&DVK'LVWULEXWLRQV7KHVHSD\PHQWV
    ZHUHYDOLGDWHGDVWRWKHDFFRXQWVSD\DEOHYHQGRUSD\HHQDPHDQGGLVWULEXWLRQDPRXQWWKDWDUH
    UHFRUGHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHOHGJHU
  í 2IWKHUHPDLQLQJPLOOLRQUHFHLSWRIPLOOLRQLQ&DSLWDO&RQWULEXWLRQVIURP%HDFRQ&RPSDQ\DQG
    5RVHED\0HGLFDO&RPSDQ\/3LQZDVLGHQWLILHGLQ5KRGHV¶V6$3JHQHUDOOHGJHU
  í 5KRGHVSDLGLQ7D['LVWULEXWLRQVLQ1RRWKHU&DVK'LVWULEXWLRQVZHUHPDGHDIWHU
  í $VGLVFXVVHGHDUOLHU3XUGXHGRHVQRWSURYLGHDFFRXQWLQJRUDGPLQLVWUDWLYHVHUYLFHVWR%HDFRQ&RPSDQ\
    DQG5RVHED\0HGLFDO&RPSDQ\/37KHUHIRUHIXUWKHUGLVSRVLWLRQRI&DVK'LVWULEXWLRQVUHFHLYHGE\WKRVH
    HQWLWLHVFDQQRWEHYDOLGDWHGEDVHGRQWKHERRNVDQGUHFRUGVPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJ
    V\VWHPDV3XUGXHDQG5KRGHV




                                                                                                              
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Rhodes Cash Distributions – Findings
 $VLOOXVWUDWHGLQWKHWDEOHEHORZZHGHWHUPLQHGWKDWDWOHDVWRIWKH&DVK'LVWULEXWLRQDPRXQWV
   UHSRUWHGLQ3XUGXH¶VDQG5KRGHV V,QWHUQDO'LVWULEXWLRQ$QDO\VHVPDWFKWKHDFFRXQWVSD\DEOHYHQGRUSD\HH
   QDPHDQGGLVWULEXWLRQDPRXQWWKDWDUHUHFRUGHGLQ3XUGXH¶V6$3DFFRXQWLQJV\VWHP

                    Rhodes Distributions Identified in Accounts Payable for Amount and Payee
                                                 (dollars in '000s)
                                      Amount Identified in            Total Distributions         % Identified in Accounts
                       Year
                                        Accounts Payable                   by Rhodes                      Payable
                                                            
                                                          
                                                            
                                                          
                                                          
                                                        
                                                          
                                                          
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                                                      
                      Total         $              151,215         $              152,496                          99.2%


    í %DVHGRQGLVFXVVLRQVZLWK3XUGXHDQG7;3WKHUHPDLQLQJDPRXQWVQRWLGHQWLILHGLQDFFRXQWVSD\DEOH
      JHQHUDOO\UHODWHWR6OLYHU'LVWULEXWLRQVDQGVPDOOLQGLYLGXDOSD\PHQWVWRWD[LQJDXWKRULWLHVZKLFKDUH
      GLIILFXOWWRLGHQWLI\GXHWRFRPELQDWLRQZLWKRWKHULWHPVRUHQWULHV
    í $FFRXQWVSD\DEOHSD\PHQWVDUHUHFRUGHGRQWKHDSSOLFDEOHSD\RU¶VDFFRXQWVSD\DEOHOHGJHUZKHQ
      SD\PHQWLVPDGHWRDQ$IILOLDWHG(QWLW\ZKRVHERRNVDQGUHFRUGVDUHQRWPDLQWDLQHGLQWKHVDPH6$3
      DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV

                                                                                                                             
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V. Compensation Paid to or for the Benefit of the
   Sackler Family Members




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Compensation Analysis – Objective and Procedures Performed


Objective

 7RLGHQWLI\DQGTXDQWLI\WKHDPRXQWRISD\PHQWVPDGHE\3XUGXHDVFRPSHQVDWLRQWRRUIRUWKHEHQHILWRI
   WKH6DFNOHU)DPLO\PHPEHUVRQRUDIWHU-DQXDU\



Procedures Performed

7KHIROORZLQJSURFHGXUHVZHUHSHUIRUPHGWRDFKLHYHWKLVREMHFWLYH

 2EWDLQHGWKHQDPHVRIWKH6DFNOHU)DPLO\PHPEHUVIURP3XUGXHDQGFURVVFKHFNHGWKRVHQDPHVZLWKWKH
   QDPHVRIWKH6DFNOHU)DPLO\PHPEHUVWKDWZHUHLGHQWLILHGLQSXEOLFVRXUFHVVXFKDVWKH6WDWH&RPSODLQWV
   DQGWKURXJKLQWHUQHWVHDUFKHV

 5HTXHVWHGDQGUHFHLYHGSD\UROOLQIRUPDWLRQIRUWKH6DFNOHU)DPLO\PHPEHUVZKRUHFHLYHGFRPSHQVDWLRQ
   IURP3XUGXHRQRUDIWHU-DQXDU\

 )RUWKHWLPHSHULRGZKHQHOHFWURQLFSD\UROOUHFRUGVZHUHDYDLODEOH DQGIRUZDUG VHDUFKHGSD\UROO
   UHFRUGVIRUDOOHPSOR\HHVWRFRQILUPWKDWQRDGGLWLRQDO6DFNOHU)DPLO\PHPEHUVUHFHLYHGFRPSHQVDWLRQIURP
   3XUGXH

 4XDQWLILHGWKHSD\UROOFRPSHQVDWLRQSDLGWRWKH6DFNOHU)DPLO\PHPEHUV

 ([WUDFWHGRWKHUSD\PHQWVPDGHGLUHFWO\WRWKH6DFNOHU)DPLO\PHPEHUVDVUHFRUGHGLQWKH6$3DFFRXQWV
   SD\DEOHOHGJHU



                                                                                                           
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Compensation to the Sackler Family Members – Findings

 3XUGXHSDLGDSSUR[LPDWHO\LQSD\UROOFRPSHQVDWLRQWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\
   PHPEHUVRQRUDIWHU-DQXDU\ 5HIHUWR$SSHQGL[%IRUDOLVWRIWKH6DFNOHU)DPLO\PHPEHUQDPHV
   WLWOHVDQGUHODWLRQVKLSV


                                                                                                                                                                                                                                                 Total
                                                                                                                                                                                                                              YTD            January 1,
Sackler Family Member                                2008           2009            2010           2011            2012           2013            2014           2015            2016           2017            2018     September 2008 through
                                                                                                                                                                                                                          30, 2019          September
                                                                                                                                                                                                                                              30, 2019
                     
.DWKH$6DFNOHU                                                                                  ± 
0RUWLPHU'$6DFNOHU                                                                                                                                                           ±   
6DPDQWKD 6DFNOHU +XQW                                                                                                                                                         ±   
5LFKDUG66DFNOHU                                                                                                                                                            ±   
'DYLG$6DFNOHU                                             ±                                                                                                                       ±   
-RQDWKDQ'6DFNOHU                                                                                                                                                             ±   
5D\PRQG56DFNOHU                                                                                                                                                  ±                ±   
5HEHFFD6DFNOHU                                            ±               ±              ±                                    ±              ±                                                          ±   
0DULDQQD6DFNOHU                                             ±               ±              ±              ±               ±              ±               ±              ±                                              ±   
,OHQH6DFNOHU/HIFRXUW                                                                                                                                                          ±   
-HIIUH\/HIFRXUW                                             ±               ±              ±              ±               ±              ±               ±              ±                                              ±   
.DUHQ/HIFRXUW7D\ORU                                        ±               ±              ±              ±               ±              ±               ±              ±                                              ±   
$OO2WKHU6DFNOHU)DPLO\0HPEHUV                           ±               ±              ±               ±                        ±               ±                         ±                                     ±   
Grand Total                                       $ 13,800       $ 15,277        $ 24,280       $ 41,715        $ 38,669       $ 23,200        $ 23,527       $ 36,146        $ 52,383       $ 52,713        $ 49,690      $           –   $      371,400




 7KH6DFNOHU)DPLO\PHPEHUVLQFOXGHGKHUHLQUHFHLYHGKHDOWKFDUHEHQHILWVXQGHU3XUGXH¶VHPSOR\HHEHQHILWVSURJUDPGXULQJWKLVSHULRG7KHYDVWPDMRULW\RIWKHFRPSHQVDWLRQDPRXQWVZHUHGHGXFWHGWRFRYHUWKH6DFNOHU

)DPLO\PHPEHU¶VSRUWLRQRILQVXUDQFHFRVWVDQGWKHVPDOOUHPDLQGHUZDVSDLGLQFDVK
&RPSHQVDWLRQWR.DWKH$6DFNOHULQWKURXJKLQFOXGHVDSSUR[LPDWHO\LQGRPHVWLFSDUWQHUPHGLFDOEHQHILWV                                                                                                                               
&RPSHQVDWLRQWR5LFKDUG66DFNOHULQLQFOXGHVDSSUR[LPDWHO\LQVSHFLDOFRPSHQVDWLRQDVUHIOHFWHGLQ3XUGXH¶VSD\UROOUHFRUGV
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VI. Legal Expenses Incurred on Behalf of the
    Sackler Family Members




                                                                                        
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Legal Expense Analysis – Objective and Procedures Performed


Objective

 7RTXDQWLI\WKHOHJDOH[SHQVHVLQFXUUHGE\3XUGXHRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVSXUVXDQWWRWKH
   &RUSRUDWH,QGHPQLW\3ROLF\GXULQJWKHSHULRGRQRUDIWHU-DQXDU\




Procedures Performed

7KHIROORZLQJSURFHGXUHVZHUHSHUIRUPHGWRDFKLHYHWKLVREMHFWLYH

 2EWDLQHGDOLVWRI3XUGXH¶VGLUHFWRUV RIILFHUVIURP1RUWRQ5RVH)XOEULJKW86//33XUGXH¶VFRUSRUDWH
   FRXQVHOWKDWVHUYHGLQVXFKFDSDFLWLHVRQRUDIWHU-DQXDU\

 2EWDLQHGIURP3XUGXH¶V/HJDO'HSDUWPHQWWKHQDPHVRIDQGLQYRLFHVSDLGWRODZILUPVUHSUHVHQWLQJWKH
   6DFNOHU)DPLO\PHPEHUVSXUVXDQWWRLWV&RUSRUDWH,QGHPQLW\3ROLF\

 ,GHQWLILHGSD\PHQWVPDGHWRWKHVHODZILUPVLQ3XUGXH¶V6$3DFFRXQWLQJV\VWHPDQGYDOLGDWHGWKDWWKH
   SD\PHQWVUHFRUGHGLQ6$3ZHUHLQFOXGHGLQWKHUHSRUWSURYLGHGE\3XUGXH¶V/HJDO'HSDUWPHQW




 3XUGXHFHDVHGSD\PHQWVRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVIRUOHJDOVHUYLFHVSHUIRUPHGDIWHU)HEUXDU\

                                                                                                                                     
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Legal Expense Analysis – Findings

 'XULQJWKHSHULRG-DQXDU\IRUZDUG3XUGXHKDGWKH&RUSRUDWH,QGHPQLW\3ROLF\LQSODFHZKHUHE\
   3XUGXHDJUHHGWRSD\OHJDOH[SHQVHVIRU3XUGXH¶V'LUHFWRUV2IILFHUVDQGRWKHU1DPHG$JHQWV DVGHILQHGLQ
   WKHSROLF\ ZKHQWKRVHH[SHQVHVZHUHUHODWHGWRDFWLRQVWDNHQLQDQRIILFLDOFDSDFLW\
    í 7RWDOOHJDOH[SHQVHVLQFXUUHGE\3XUGXHRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVSXUVXDQWWRWKH
      &RUSRUDWH,QGHPQLW\3ROLF\RQRUDIWHU-DQXDU\ZHUHPLOOLRQ


                                                                                                $OODPRXQWVLQWKRXVDQGV




 %HJLQQLQJLQSODLQWLIIVLQRSLRLGUHODWHGOLWLJDWLRQEHJDQWRQDPH6DFNOHU)DPLO\PHPEHUVLQGLYLGXDOO\
   DVGHIHQGDQWV

      í 3XUGXHFHDVHGSD\PHQWVRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVIRUOHJDOVHUYLFHVSHUIRUPHGDIWHU
        )HEUXDU\

 1RLQGHPQLW\SD\PHQWVZHUHLGHQWLILHGSULRUWRDQG3XUGXH¶V/HJDO'HSDUWPHQWLVQRWDZDUHRIDQ\LQGHPQLILFDWLRQUHTXHVWV SXUVXDQWWRWKLVSRO F\DULVLQJSULRUWR-DQXDU\

:HKDYHUHOLHGRQWKH3XUGXH/HJDO'HSDUWPHQW¶VUHSUHVHQWDWLRQWKDWWKHVHH[SHQVHVUHODWHGWROHJDOVHUYLFHVSHUIRUPHGRQEHKDOI RIWKH6DFNOHU)DPLO\PHPEHUVDQGWKDW3XUGXH
                                                                                                                                                                                         
KDVSD GSXUVXDQWWRWKH&RUSRUDWH,QGHPQLW\3ROLF\
 $PRXQWVDUHVKRZQLQWKHTXDUWHUO\SHULRGZKHQVHUYLFHVZHUHUHQGHUHG QRWSDLG 4LQFOXGHVRQO\OHJDOH[SHQVHVLQFXUUHGIRUVHUYLFHVSHUIRUPHGLQ-DQXDU\DQG)HEUXDU\
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Legal Expense Payments by Law Firm

 7KHLQFUHDVHLQOHJDOH[SHQVHVZDVGULYHQE\LQFUHDVHGVSHQGLQJZLWKOHDGODZILUPVDQGWKHDGGLWLRQRI
   RWKHUODZILUPV
    í 7KHVRXUFHRIWKHDPRXQWVEHORZLV3XUGXH¶V7HDP&RQQHFWV\VWHPDVSURYLGHGE\3XUGXH¶V/HJDO
      'HSDUWPHQW
    í 7KHDPRXQWVSDLGWRWKHODZILUPVOLVWHGEHORZDUHVKRZQLQWKHTXDUWHUWKDWWKHOHJDOVHUYLFHVZHUH
      SHUIRUPHG$OORIWKHVHOHJDOH[SHQVHVKDYHVLQFHEHHQSDLGE\3XUGXHRQEHKDOIRIWKH6DFNOHU)DPLO\
      PHPEHUV
                                                                                  $OODPRXQWVLQWKRXVDQGV

 Law Firm                             2Q16        3Q16         4Q16        1Q17          2Q17          3Q17         4Q17         1Q18           2Q18            3Q18            4Q18            1Q19       Grand Total
  &DPHURQ 0LWWOHPDQ//3                                                        
  &KRDWH+DOO 6WHZDUW//3                                                 
  &RKHQ *UHVVHU//3                                                  
  'HEHYRLVH 3OLPSWRQ//3                                                      
  )LWFK/DZ3DUWQHUV//3                                               
  +DZNLQV3DUQHOO <RXQJ                                              
  -RVHSK+DJH$DURQVRQ//&                                                       
  .HOOH\-DVRQV0F*RZDQ6SLQHOOL
  +DQQD 5HEHU//3                                                        
  /XP'UDVFR 3RVLWDQ//&                                                    
  /XWKHU6WUDQJH $VVRFLDWHV//&                                            
  0F'HUPRWW:LOO (PHU\                                                   
  0XOLQL[*RHUNH 0H\HU33/&                                               
  1RUWRQ5RVH)XOEULJKW86//3                                             
  3DUVRQ%HKOH /DWLPHU IRU
  5LFKDUG6DFNOHU                                                                   
 Grand Total                         $ 13         $ 10        $ 19         $      1     $        3    $ 17         $ 11         $ 75          $ 1,400         $ 2,607         $ 5,573         $ 7,821         $ 17,550


    í 1RLQGHPQLW\SD\PHQWVZHUHLGHQWLILHGSULRUWRDQG3XUGXH¶V/HJDO'HSDUWPHQWLVQRWDZDUHRIDQ\
      LQGHPQLILFDWLRQUHTXHVWVSXUVXDQWWRWKLVSROLF\DULVLQJSULRUWR-DQXDU\




:HKDYHUHOLHGRQWKH3XUGXH/HJDO'HSDUWPHQW¶VUHSUHVHQWDWLRQWKDWWKHODZILUPVLQFOXGHGKHUHLQDUHWKHILUPVWKDWSHUIRUPHGOHJDO

VHUYLFHVRQEHKDOIRIWKH6DFNOHU)DPLO\PHPEHUVDQGWKDW3XUGXHKDVSDLGSXUVXDQWWRWKH&RUSRUDWH,QGHPQLW\3ROLF\                                                                                                       
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VII. Pension Benefits Paid to Sackler Family
     Members




                                                                                        
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Pension Benefit Analysis – Objectives and Procedures Performed

Objectives

 7RLGHQWLI\DQGTXDQWLI\WKHDPRXQWRI3HQVLRQ%HQHILWVSDLGWRWKH6DFNOHU)DPLO\PHPEHUVRQRUDIWHU
   -DQXDU\IURP3XUGXH¶V3HQVLRQ3ODQZKLFKZDVPDLQWDLQHGVHSDUDWHO\IURP3XUGXH¶VDVVHWVDQG

 7RDVVHVVZKHWKHU3HQVLRQ%HQHILWVSDLGWRWKH6DFNOHU)DPLO\PHPEHUVDSSHDULQDFFRUGDQFHZLWK3XUGXH¶V
   3HQVLRQ3ODQSROLFLHV



Procedures Performed

:HSHUIRUPHGWKHIROORZLQJSURFHGXUHVWRDFKLHYHWKHVHREMHFWLYHV5HIHUWR([KLELW+IRUPRUHGHWDLOHG
SURFHGXUHV

 5HYLHZHGDQGDQDO\]HGWKH3HQVLRQ%HQHILWFDOFXODWLRQZRUNVKHHWVSUHSDUHGE\'HORLWWHWRLGHQWLI\DQG
   TXDQWLI\WKH3HQVLRQ%HQHILWVSDLGWRWKH6DFNOHU)DPLO\PHPEHUV

 )RUWKRVH6DFNOHU)DPLO\PHPEHUVZKRUHPDLQHOLJLEOHIRUIXWXUH3HQVLRQ%HQHILWVLGHQWLILHGDQGTXDQWLILHG
   WKHDPRXQWIRUZKLFKWKH\DUHHOLJLEOHEDVHGRQLQIRUPDWLRQSURYLGHGE\'HORLWWH

 5HYLHZHG3XUGXH¶V3HQVLRQ3ODQGRFXPHQWVLQRUGHUWRGHWHUPLQHLIWKH6DFNOHU)DPLO\PHPEHUVZKR
   UHFHLYHG3HQVLRQ%HQHILWVXQGHU3XUGXH¶V3HQVLRQ3ODQZHUHHOLJLEOHWRUHFHLYHVXFKEHQHILWVDVGHILQHGLQ
   3XUGXH¶V3HQVLRQ3ODQGRFXPHQWV




                                                                                                                 
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Pension Benefit Analysis – Findings

 7RWDO3HQVLRQ%HQHILWVSDLGWRWKH6DFNOHU)DPLO\PHPEHUVSXUVXDQWWR3XUGXH¶V3HQVLRQ3ODQIURP-DQXDU\
   WKURXJK'HFHPEHUZDVPLOOLRQ7KHVH3HQVLRQ%HQHILWSD\PHQWVZHUHPDGHRXWRI
   WKHWUXVWDVVHWVRI3XUGXH¶V3HQVLRQ3ODQZKLFKZHUHKHOGVHSDUDWHO\IURP3XUGXH¶VDVVHWV$VRI
   6HSWHPEHUQR3HQVLRQ%HQHILWVZHUHSDLGWRWKH6DFNOHU)DPLO\PHPEHUVDIWHU'HFHPEHU
   
                                                                                           Retirement
                  Sackler Family Member        Pension Benefit Payment
                                                                                               Date
                 5LFKDUG66DFNOHU                
                 ,OHQH6DFNOHU/HIFRXUW          
                 .DWKH$6DFNOHU                  
                 Total                       $                              2,967,977


   í $OOWKUHHUHFLSLHQWVRIWKHVH3HQVLRQ%HQHILWVHOHFWHGWRUHFHLYHOXPSVXPSD\PHQWVZLWKLQRQHPRQWKRI
     WKHLUUHVSHFWLYHUHWLUHPHQWGDWHDQGLQDFFRUGDQFHZLWK3XUGXH¶V3HQVLRQ3ODQ
   í 7KH3HQVLRQ%HQHILWFDOFXODWLRQVLQFOXGHHPSOR\HHFRPSHQVDWLRQ EDVHVDODULHVDQGERQXVHV HDUQHGSULRU
     WR

 ,QDGGLWLRQ-RQDWKDQ'6DFNOHULVHOLJLEOHIRUDQHDUO\UHWLUHPHQW3HQVLRQ%HQHILWEXWKDVQRWHOHFWHGWR
   UHFHLYHWKLVEHQHILWDVRI6HSWHPEHU7KHOXPSVXPSUHVHQWYDOXHRIWKHHDUO\UHWLUHPHQW3HQVLRQ
   %HQHILWZDVHVWLPDWHGE\'HORLWWH3XUGXH¶V3HQVLRQ%HQHILWFRQVXOWDQWWREHDSSUR[LPDWHO\PLOOLRQDV
   RI$XJXVW2Q$SULOKHEHFRPHVHOLJLEOHIRUIXOOUHWLUHPHQWEHQHILWV
 6LPLODUO\0RUWLPHU'$6DFNOHUEHFRPHVHOLJLEOHIRUDQHDUO\UHWLUHPHQW3HQVLRQ%HQHILWRQ-XQH
   DQGIRUDIXOOUHWLUHPHQW3HQVLRQ%HQHILWRQ-XQH$FFRUGLQJWR'HORLWWHWKHVHGDWHVDUHWRRIDULQ
   WKHIXWXUHWRDFFXUDWHO\HVWLPDWHWKHFXUUHQWYDOXHRIWKLV3HQVLRQ%HQHILW



                                                                                                                
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      Travel and Expense Reimbursements to or
VIII. for the Benefit of the Sackler Family
      Members




                                                                                       
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T&E Analysis – Objectives and Procedures Performed

Objective

 7RLGHQWLI\DQGTXDQWLI\7 (UHLPEXUVHPHQWVSDLGE\3XUGXHWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\
   PHPEHUV


Procedures Performed

,QRUGHUWRDFKLHYHWKLVREMHFWLYHZHSHUIRUPHGWKHIROORZLQJSURFHGXUHV

 5HTXHVWHG7 (UHSRUWGDWDIURP3XUGXHIRU7 (UHLPEXUVHPHQWVSDLGE\3XUGXHRQRUDIWHU-DQXDU\
   3XUGXHSURYLGHG7 (UHSRUWVVWDUWLQJLQ$SULOZKLFKLVZKHQLWVFXUUHQW7 (UHSRUWLQJV\VWHP
   'DWDEDVLFVZHQWOLYH7 (UHSRUWGDWDIURP3XUGXH¶VSULRU7 (UHSRUWLQJV\VWHPKDVEHHQDUFKLYHGDQGLV
   QRWDYDLODEOHSULRUWR$SULO

 ,GHQWLILHGWKH6DFNOHU)DPLO\PHPEHUVZKRVXEPLWWHGH[SHQVHUHSRUWV


 5HYLHZHGLQGLYLGXDOOLQHLWHPGHWDLOIRU6DFNOHU)DPLO\PHPEHUH[SHQVHUHSRUWV

 5HYLHZHGUHFHLSWVVXSSRUWLQJGRFXPHQWDWLRQVXEPLWWHGZLWK7 (UHSRUWVIRUDSSUR[LPDWHO\RIWKHWRWDO
   GROODUDPRXQWRI7 (UHLPEXUVHPHQWVPDGHWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUVWKURXJK
   'DWDEDVLFV

 ([WUDFWHGSD\PHQWVPDGHGLUHFWO\WRWKH6DFNOHU)DPLO\PHPEHUVIRU7 (UHLPEXUVHPHQWIURP3XUGXH¶V
   6$3DFFRXQWVSD\DEOHOHGJHURQRUDIWHU-DQXDU\

 5HYLHZHG7 (UHLPEXUVHPHQWVSDLGWKURXJKDFFRXQWVSD\DEOHDQGDVVLJQHGDQH[SHQVHFDWHJRU\WRWKH
   7 (UHLPEXUVHPHQWVEDVHGRQWKHLQIRUPDWLRQDYDLODEOHLQ3XUGXH¶V6$3DFFRXQWLQJV\VWHP
 6DFNOHU)DPLO\PHPEHUVZHUHLVVXHG$PHULFDQ([SUHVV&RUSRUDWH&UHGLW&DUGVLQWKHLURZQQDPHVZKLFK3XUGXHSDLGGLUHFWO\WR$PHULFDQ([SUHVVXSRQVXEPLVVLRQ

RIH[SHQVHUHSRUWV3XUGXHDOVRLVVXHG3URFXUHPHQW&DUGVWRYDULRXVHPSOR\HHVKRZHYHUQRQHZHUHLVVXHGWR6DFNOHU)DPLO\PHPEHUV                                
                                  19-23649-shl              Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                                                                      Report of
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T&E Analysis – Findings
 3XUGXH¶V7 (UHLPEXUVHPHQWVSDLGWRRUIRUWKHEHQHILWRIWKH6DFNOHU)DPLO\PHPEHUVRQRUDIWHU-DQXDU\
   DUHLQFOXGHGLQWKHWDEOHEHORZ5HIHUWR([KLELW,IRUPRUHLQIRUPDWLRQUHJDUGLQJWKHGHWDLOHG
   SURFHGXUHVSHUIRUPHGUHODWHGWR7 (UHLPEXUVHPHQWV
                                                                                        T&E System                        Accounts Payable                            Grand Total

                                                                                                                            January 1, 2008                        January 1, 2008
                                                                                  April 2011 through
                                                  Data Available Since                                                          through                                through
                                                                                  December 31, 2018
                                                                                                                            March 31, 2019                         March 31, 2019

                                                  7KHUHVD(6DFNOHU                          
                                                  5 FKDUG66DFNOHU                             
                                                  0RUWLPHU'$6DFNOHU                     
                                                  'DY G$6DFNOHU                          
                                                  0RUWLPHU'6DFNOHU                      
                                                  -RQDWKDQ'6DFNOHU                      
                                                  .DWKH$6DFNOHU                            
                                                  ,OHQH6DFNOHU/HIFRXUW                       
                                                  5D\PRQG56DFNOHU                          
                                                  6DPDQWKD 6DFNOHU +XQW                   
                                                  5HEHFFD6DFNOHU                           
                                                  %HYHUO\6DFNOHU                          
                                                  Grand Total                    $                 1,167,237            $                   742,879           $                 1,910,116

     í 6RXUFHVRI7 (UHLPEXUVHPHQWVLQFOXGH
       o 3XUGXH¶V7 (UHSRUWVIURP'DWDEDVLFVZKLFKDUHDYDLODEOHVWDUWLQJLQ$SULODQGVXSSRUWLQJ
         GRFXPHQWDWLRQ$VRI6HSWHPEHUQR7 (UHLPEXUVHPHQWVKDGEHHQVXEPLWWHGE\RUSDLGWR
         WKH6DFNOHU)DPLO\PHPEHUVWKURXJK'DWDEDVLFVDIWHU'HFHPEHU
         o 3XUGXH¶V6$3DFFRXQWVSD\DEOHOHGJHU GDWDDYDLODEOHIURP DQGVXSSRUWLQJGRFXPHQWDWLRQ$VRI
           6HSWHPEHUQR7 (UHLPEXUVHPHQWVKDGEHHQVXEPLWWHGE\RUSDLGWRWKH6DFNOHU)DPLO\
           PHPEHUVWKURXJK$FFRXQWV3D\DEOHDIWHU0DUFK
         o 33/3ZDVWKHRQO\3XUGXHHQWLW\WKDWSDLG7 (UHLPEXUVHPHQWVWRRURQEHKDOIRIWKH6DFNOHU)DPLO\
           PHPEHUVGXULQJWKLVWLPHSHULRG
 ,Q$XJXVWDW3XUGXH¶VUHTXHVW35$/3UHSDLG3XUGXHIRUDSSUR[LPDWHO\RIWKHVH7 (
   UHLPEXUVHPHQWVIRUDYDULHW\RIUHDVRQVLQFOXGLQJWKHGLIILFXOW\LQFRQILUPLQJWKDWWKHVHUHLPEXUVHPHQWV
   ZHUHSURSHUO\FKDUJHDEOHWR3XUGXHUHVXOWLQJLQDQHWSD\PHQWE\3XUGXHRIDSSUR[LPDWHO\
%DVHGRQGRFXPHQWDWLRQLQ6$3WKHWRWDOFRVWRIWKHSODQHFKDUWHUZDVDSSUR[LPDWHO\RIZKLFKDSSUR[LPDWHO\ ZDVUHLPEXUVHGWR7KHUHVD(6DFNOHUDQGWKH

UHPDLQLQJDSSUR[LPDWHO\ZDVUHLPEXUVHGWR0RUWLPHU'6DFNOHU7KHVHDPRXQWVZHUHUHSDLGWR3XUGXHE\35$/3LQ$XJXVW 
 ,WDSSHDUVWKDWWKHVDPHH[SHQVHZDVLQFOXGHGLQ5HEHFFD6DFNOHU¶V7
                                                                                                                                                                                                                
                                                                         (V\VWHPUHSRUWDQGDFFRXQWVSD\DEOHUHLPEXUVHPHQWV
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IX. Fringe Benefits Provided to Sackler Family
    Members




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Fringe Benefits Analysis – Objectives and Procedures Performed

Objective

 7RLGHQWLI\DQGTXDQWLI\WKHH[SHQVHVSDLGE\3XUGXHIRUWKHIROORZLQJ)ULQJH%HQHILWVUHFHLYHGE\WKH
   6DFNOHU)DPLO\PHPEHUV

  í &HOOXODUSKRQHVDQGVHUYLFHSODQV
  í )OHHWYHKLFOHVDQG
  í 3HUVRQDOVHUYLFHHPSOR\HHV


Procedures Performed

,QRUGHUWRDFKLHYHWKLVREMHFWLYHZHSHUIRUPHGWKHIROORZLQJSURFHGXUHV

 0HWZLWKYDULRXV3XUGXH7;3DQG2QH6WDPIRUG5HDOW\HPSOR\HHVWRGLVFXVVWKH)ULQJH%HQHILWV

 5HYLHZHGDQGDQDO\]HGGRFXPHQWDWLRQPDLQWDLQHGE\3XUGXH7;3DQG2QH6WDPIRUG5HDOW\ UHODWHGWRWKH
   )ULQJH%HQHILWV

 5HYLHZHGDQGDQDO\]HG3XUGXH¶V6$3DFFRXQWLQJV\VWHPLQRUGHUWRTXDQWLI\DPRXQWVELOOHGWR6DFNOHU
   )DPLO\PHPEHUVDQGDPRXQWVUHLPEXUVHGWR3XUGXHE\6DFNOHU)DPLO\PHPEHUVDQG

 6HOHFWHGDSRUWLRQRIWKHIOHHWYHKLFOHDQGSHUVRQDOVHUYLFHHPSOR\HHUHLPEXUVHPHQWVWKDWWKH6DFNOHU
   )DPLO\PHPEHUVPDGHE\ZLUHWUDQVIHUDQGWUDFHGWKRVHDPRXQWVWR3XUGXH¶VDYDLODEOHEDQNVWDWHPHQWV




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Fringe Benefits Analysis – Findings
 %DVHGRQGLVFXVVLRQVZLWKHPSOR\HHVRI7;3DQG2QH6WDPIRUG5HDOW\FHUWDLQ6DFNOHU)DPLO\PHPEHUV
   UHFHLYHGWKHIROORZLQJW\SHVRI)ULQJH%HQHILWVRQRUDIWHU-DQXDU\
     í Cellular phones  3XUGXHSURYLGHGFHOOSKRQHVWRFHUWDLQ6DFNOHU)DPLO\PHPEHUVDQGSDLGIRUPRQWKO\
       VHUYLFHFKDUJHV7KHVHFRVWVZHUHQRWFRQWHPSRUDQHRXVO\UHLPEXUVHGE\WKH6DFNOHU)DPLO\PHPEHUV
     í Fleet vehicles  3XUGXHOHDVHGYHKLFOHVWKURXJKDQH[WHUQDOVHUYLFHSURYLGHU :KHHOV,QF ZKLFKZHUH
       XVHGE\FHUWDLQ6DFNOHU)DPLO\PHPEHUVDQGIXOO\UHLPEXUVHGWR3XUGXHLQWKHRUGLQDU\FRXUVHRQD
       SHULRGLFEDVLV
     í Personal service employees  7KUHH6DFNOHU)DPLO\PHPEHUVKDGSHUVRQDOVHUYLFHHPSOR\HHVRQ
       3XUGXH¶VSD\UROODQGEHQHILWVSODQ3XUGXHSDLGDQGSURYLGHGEHQHILWVIRUWKHVHHPSOR\HHVRYHUWKH
       UHOHYDQWSD\SHULRGVDQGZDVIXOO\UHLPEXUVHGE\WKH6DFNOHU)DPLO\PHPEHUVRUWUXVWVDVVRFLDWHGZLWK
       6DFNOHU)DPLO\PHPEHUVLQWKHRUGLQDU\FRXUVHRQDSHULRGLFEDVLV
 3XUGXHZDVQRWFRQWHPSRUDQHRXVO\UHLPEXUVHGIRUWKHXVHRIFRPSDQ\LVVXHGFHOOXODUSKRQHV+RZHYHULQ
   $XJXVW35$/3UHSDLG3XUGXHDW3XUGXH¶VUHTXHVWWKHIXOODPRXQW DSSUR[LPDWHO\ RIWKH
   FRVWVDVVRFLDWHGZLWKWKH6DFNOHU)DPLO\PHPEHUV¶XVHRIFRPSDQ\LVVXHGFHOOXODUSKRQHVRQRUDIWHU
   -DQXDU\
                                                                                                                       Reimbursed in the Reimbursed in the
                                                                                         Not
                                                                                                                        Ordinary Course   Ordinary Course
                                                                                  Contemporaneously
                                                                                                                         On a Periodic     On a Periodic
                                                                                     Reimbursed
                                                                                                                             Basis             Basis
                                                                                                                                                1      Personal Service
                                                                                     Cellular Phones                     Fleet Vehicles                                                      Total
                                                                                                                                                          Employees
             7RWDO&RVWWR3XUGXH                                                                              
                                                                          
             &RQWHPSRUDQHRXV5HLPEXUVHPHQWV&UHGLWV,GHQWLILHG                                          
             1HW7RWDO                                                                             
             5HSDLGE\35$/3LQ$XJXVW                                                     
             1HW&RVWWR3XUGXH                                                               

     í 1R)ULQJH%HQHILWVZHUHSURYLGHGE\3XUGXHWRWKH6DFNOHU)DPLO\PHPEHUVDIWHU$SULO
     í 7KHEHQHILWFDWHJRULHVRXWOLQHGDERYHDQGDPRXQWVDVVRFLDWHGZLWKHDFKFDWHJRU\ZHUHREWDLQHGIURP
       UHSRUWVSUHSDUHGE\7;3DQG3XUGXH¶VERRNVDQGUHFRUGV
 5HLPEXUVHPHQWVLQFOXGHFUHGLWVUHODWHGWRDSSUR[LPDWHO\LQ)OHHWLQYRLFHRYHUFKDUJHVDQGLQDXWRPRELOHPDLQWHQDQFHFRVWV,WLVRXU

XQGHUVWDQGLQJWKDW)OHHW9HKLFOHH[SHQVHVZHUHUHLPEXUVHGE\WKH6DFNOHU)DPLO\PHPEHUVLQWKHRUGLQDU\FRXUVH+RZHYHUEDVHGRQWKHLQIRUPDWLRQDYDLODEOH                                                   
LQ6$3DQGGLVFXVVLRQVZLWK7;3LWLVXQFOHDULI3XUGXHZDVUHLPEXUVHGIRULQDXWRPRELOHPDLQWHQDQFHFRVWV
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X. Exhibits




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    Exhibit B   Detailed Reconciliation of Purdue Net Cash Distributions to Audited Financial Statements        
    Exhibit C   Combined Purdue and Rhodes Detailed Schedules of Cash Transfers                                 
    Exhibit D   Rhodes Detailed Schedules of Cash Distributions                                                 
    Exhibit E   Purdue Cash Distributions Tracing Analysis                                                      
    Exhibit F   Rhodes Cash Distributions Tracing Analysis                                                     
    Exhibit G   Analysis of Distributions Referenced in the State Complaints Filed Against Purdue and/or the   
                Sackler Family Members

    Exhibit H   Pension Benefits Detailed Procedures Performed                                                 
    Exhibit I   Travel and Expense Reimbursements Detailed Procedures Performed                                




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Exhibit A - Cash Distributions Analysis, Detailed
Procedures Performed




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Exhibit A - Cash Distributions Analysis, Detailed Procedures
Performed
,QRUGHUWRDFKLHYHWKHREMHFWLYHVRIWKH3XUGXHDQG5KRGHV&DVK'LVWULEXWLRQ$QDO\VLV ZHSHUIRUPHGWKH
IROORZLQJSURFHGXUHV

 &ROOHFWHGLQIRUPDWLRQDQGGRFXPHQWVIURP3XUGXH5KRGHVDQG7;3
    í $FFHVVHGDQGUHYLHZHGDFFRXQWLQJILQDQFLDODQGRWKHUUHOHYDQWLQIRUPDWLRQIURP3XUGXH5KRGHVDQG
      7;3 IRUSXUSRVHVRIXQGHUVWDQGLQJWKHW\SHVRILQIRUPDWLRQDYDLODEOHUHODWHGWR&DVK'LVWULEXWLRQV
      LGHQWLI\LQJDQGTXDQWLI\LQJWKH&DVK'LVWULEXWLRQVPDGHE\3XUGXHDQG5KRGHVIURP-DQXDU\
      WKURXJK'HFHPEHUWRRUIRUWKHEHQHILWRIWKH$IILOLDWHG(QWLWLHVLQFOXGLQJWKRVH&DVK
      'LVWULEXWLRQVPDGHDV&DSLWDO&RQWULEXWLRQVE\3XUGXHWR5KRGHV
          o 3XUGXH¶VILQDQFLDOVWDWHPHQWVZHUHDXGLWHGE\(UQVW <RXQJ//3IRUWKH\HDUVHQGHG'HFHPEHU
            WKURXJK7KHDXGLWRSLQLRQVWDWHVWKDWWKHDXGLWVZHUHFRQGXFWHGLQDFFRUGDQFHZLWK
            JHQHUDOO\DFFHSWLQJDXGLWLQJVWDQGDUGV ³*$$6´ DQG3XUGXH¶VILQDQFLDOVWDWHPHQWVZHUHSUHSDUHGLQ
            DFFRUGDQFHZLWK*$$3
          o )RUWKH\HDUHQGHG'HFHPEHUDXGLWILHOGZRUNKDVODUJHO\EHHQFRPSOHWHGEXWWKHDXGLWHG
            ILQDQFLDOVWDWHPHQWVKDYHQRWEHHQILQDOL]HGGXHWRWKHSHQGLQJFRXUWDSSRLQWPHQWRI(UQVW <RXQJ
            //3DV3XUGXH¶VDXGLWRUV
    í &DVK'LVWULEXWLRQVZHUHQRWSDLGIURP-DQXDU\WKURXJK6HSWHPEHU




 7KHDQDO\VLVUHODWHGWR1RQ&DVK'LVWULEXWLRQVPDGHRQRUDIWHU-DQXDU\LVLQFOXGHGLQWKH,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV

5HSRUW                                                                                                                                     
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Exhibit A - Cash Distributions Analysis, Detailed Procedures
Performed
 ,GHQWLILHGTXDQWLILHGDQGUHFRQFLOHG&DVK'LVWULEXWLRQVDQGORDQVPDGHWKDWDUHUHFRUGHGLQ3XUGXHDQG
   5KRGHV¶V6$3DFFRXQWLQJV\VWHP
  í ,GHQWLILHGUHOHYDQW3XUGXHJHQHUDOOHGJHUDFFRXQWVDQGFRPSDQ\FRGHVWKDW&DVK'LVWULEXWLRQVZHUH
    UHFRUGHGLQXQGHU
  í ,GHQWLILHGDQGTXDQWLILHG&DVK'LVWULEXWLRQVLQWRWDODQGE\SD\HHPDGHE\3XUGXHDQG5KRGHVIURP
    -DQXDU\WKURXJK'HFHPEHUDVUHFRUGHGLQLWV6$3DFFRXQWLQJV\VWHPDQGDFFRXQWV
    SD\DEOHOHGJHU
     o 3XUGXH&DVK'LVWULEXWLRQVXVXDOO\IORZHGXSWRDQGWKURXJKRQHRUPRUH$IILOLDWHG(QWLWLHV7KHSD\RU
       QDPHUHFRUGHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHOHGJHUXVXDOO\ZDVWKHSD\HHRIWKHODVW$IILOLDWHG
       (QWLW\LQD&DVK'LVWULEXWLRQ¶VIORZRIIXQGVVWUXFWXUHZKRVHERRNVDQGUHFRUGVDUHPDLQWDLQHGLQWKH
       VDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV
     o 3D\HHQDPHVLQFOXGHG%HDFRQ&RPSDQ\5RVHED\0HGLFDO&RPSDQ\/3RWKHU$IILOLDWHG(QWLWLHV
        XVXDOO\([86$IILOLDWHG(QWLWLHV DQGYDULRXVWD[LQJDXWKRULWLHVDQG
     o 7KHERRNVDQGUHFRUGVIRU%HDFRQ&RPSDQ\5RVHED\0HGLFDO&RPSDQ\/3DQG([86$IILOLDWHG
       (QWLWLHVDUHQRWPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV7KHUHIRUH
       IXUWKHUGLVSRVLWLRQRI&DVK'LVWULEXWLRQVUHFHLYHGE\WKRVHHQWLWLHVFDQQRWEHYDOLGDWHGEDVHGRQWKH
       ERRNVDQGUHFRUGVPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV

 9DOLGDWHGDQGUHFRQFLOHG&DVK'LVWULEXWLRQDPRXQWVUHSRUWHGLQILQDQFLDOVWDWHPHQWVDQGH[WHUQDOVRXUFHV
  í 5HFRQFLOHG&DVK'LVWULEXWLRQDPRXQWVPDGHE\3XUGXHIURP-DQXDU\WKURXJK'HFHPEHU
    DVUHFRUGHGLQWKH6$3DFFRXQWLQJV\VWHPWRWKH&DVK'LVWULEXWLRQDPRXQWVUHFRUGHGLQ3XUGXH¶V
    DXGLWHGILQDQFLDOVWDWHPHQWVIRUWKH\HDUVHQGHG'HFHPEHUWKURXJK
     o 7KLVLQFOXGHGVXPPDUL]LQJWKH&RPELQHG6WDWHPHQWVRI(TXLW\DQG&RPELQHG6WDWHPHQWVRI&DVK
       )ORZVE\\HDUWRFDSWXUH&DVK'LVWULEXWLRQDPRXQWVDVUHSRUWHGLQWKHILQDQFLDOVWDWHPHQWV

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Exhibit A - Cash Distributions Analysis, Detailed Procedures
Performed
 5HYLHZHGDQGYDOLGDWHGWKH3XUGXHFDVKWUDQVIHUDPRXQWVUHSRUWHGLQWKH2FWREHU0'/
   3UHVHQWDWLRQDQG3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV
     í 7KLVLQFOXGHGLGHQWLI\LQJDQGTXDQWLI\LQJ&DVK'LVWULEXWLRQVWKDW3XUGXHFODVVLILHGDV863DUWQHU&DVK
       'LVWULEXWLRQV([86&DVK'LVWULEXWLRQV,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHVDQG7D['LVWULEXWLRQV
     í 7KLVLQFOXGHGLGHQWLI\LQJDQGTXDQWLI\LQJDPRXQWV3XUGXHUHSRUWHGDVORDQVDQGUHYLHZLQJ3XUGXH¶V
       VFKHGXOHRIQRWHVUHFHLYDEOHDFWLYLW\

 5HFRQFLOHGWKH&DVK'LVWULEXWLRQDPRXQWVUHSRUWHGLQ3XUGXH¶VDQG5KRGHV¶V,QWHUQDO'LVWULEXWLRQ$QDO\VHV
   WRWKH&DVK'LVWULEXWLRQDPRXQWVUHFRUGHGLQDXGLWHGILQDQFLDOVWDWHPHQWVIRUWKH\HDUVHQGHG'HFHPEHU
   WKURXJK

 9DOLGDWHGWKHJURVVFDVKWUDQVIHUDPRXQWVUHSRUWHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVE\PDWFKLQJ
   WRWKHDFFRXQWVSD\DEOHYHQGRUSD\HHQDPHDQGGLVWULEXWLRQDPRXQWWKDWLVUHFRUGHGLQ3XUGXH¶VDFFRXQWV
   SD\DEOHOHGJHU

 7UDFHGWKHDFFRXQWVSD\DEOHYHQGRUSD\HHQDPHVDQGFDVKWUDQVIHUDPRXQWVUHFRUGHGLQ3XUGXH¶V6$3
   DFFRXQWLQJV\VWHPXVLQJDYDLODEOHEDQNVWDWHPHQWVJHQHUDOO\IURP-XO\IRUZDUG

 5HYLHZHGYDULRXV6WDWH&RPSODLQWVILOHGDJDLQVW3XUGXHDQGWKH6DFNOHU)DPLO\PHPEHUVDQGUHFRQFLOHGWKH
   GLVWULEXWLRQDPRXQWVUHIHUHQFHGWKHUHLQWR3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV




 )RUWKH\HDUHQGHG'HFHPEHUDXGLWILHOGZRUNKDVODUJHO\EHHQFRPSOHWHGEXWWKHDXG WHGILQDQFLDOVWDWHPHQWVKDYHQRW EHHQILQDOL]HGGXHWRWKHSHQGLQJFRXUW

DSSRLQWPHQWRI(UQVW <RXQJ//3DV3XUGXH¶VDXGLWRUV3XUGXHDQG5KRGHV¶VFRPELQHGDXG WHGILQDQFLDOVWDWHPHQWVZHUHSUHSDUHGIRUWKH\HDUVHQGHG'HFHPEHU        
WKURXJKZLWKLQFOXGHGDVSULRU\HDULQIRUPDW RQ7KHDXGLWHGILQDQFLDOVWDWHPHQWVIRU5KRGHVRQDVWDQGDORQHEDVLVZHUHSUHSDUHGIRU
                            19-23649-shl         Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                             Report of
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Exhibit A - Cash Distributions Analysis, Detailed Procedures
Performed
 7UDFHGWKHIORZRIIXQGVIRU3XUGXHDQG5KRGHV&DVK'LVWULEXWLRQVDQGORDQVPDGHE\3XUGXH
     í 6HOHFWHGHDFKW\SHRI&DVK'LVWULEXWLRQ FODVVLILFDWLRQ 1RQ7D[863DUWQHU1RQ7D[([86DQG7D[
       'LVWULEXWLRQV LQFOXGHGLQ3XUGXH¶VDQG5KRGHV¶V,QWHUQDO'LVWULEXWLRQV$QDO\VHVDQGWKH2FWREHU
       0'/3UHVHQWDWLRQDFURVVYDULRXV\HDUVIURP-DQXDU\WKURXJK'HFHPEHUIRU
       WHVWLQJLQRUGHUWR
       o 2EWDLQWKHUHOHYDQWGRFXPHQWVPDLQWDLQHGLQ3XUGXHDQG5KRGH¶V6$3DFFRXQWLQJV\VWHPIRUHDFK
          GLVWULEXWLRQLQFOXGLQJ6$3WUDQVDFWLRQGHWDLO:ULWWHQ&RQVHQWVDQGRWKHUGRFXPHQWVIURPWKH
          JHQHUDOSDUWQHUVDXWKRUL]LQJGLVWULEXWLRQV7UHDVXU\'HSDUWPHQWUHSRUWVZLUHLQVWUXFWLRQVDQGWD[
          FDOFXODWLRQV
          o *DLQDQXQGHUVWDQGLQJRIKRZHDFKGLVWULEXWLRQLVUHFRUGHGLQ3XUGXH¶V6$3DFFRXQWLQJV\VWHP
          o 'RFXPHQWWKHIORZRIIXQGVIRUHDFKGLVWULEXWLRQIURP3XUGXHXSWRDQGWKURXJK$IILOLDWHG(QWLWLHV
            EDVHGXSRQJHQHUDOOHGJHUGHWDLOZLUHLQVWUXFWLRQVEDQNVWDWHPHQWVDQGGRFXPHQWVZLWKDSSURYDOV
            IRUHDFKGLVWULEXWLRQ
          o 9DOLGDWHZKHWKHUWKHSD\HHVUHFLSLHQWVRIGLVWULEXWLRQVWKDWDUHUHFRUGHGLQ3XUGXH¶V6$3DFFRXQWLQJ
            V\VWHPPDWFKWKHSD\HHVUHFLSLHQWVUHIHUHQFHGLQWKHGLVWULEXWLRQDXWKRUL]DWLRQGRFXPHQWV
          o 9DOLGDWHZKHWKHUWKHSD\HHVUHFLSLHQWVRIGLVWULEXWLRQVWKDWDUHUHFRUGHGLQ3XUGXH¶V6$3DFFRXQWLQJ
            V\VWHPPDWFKWKHSD\HHVUHFLSLHQWVUHIHUHQFHGLQWKHZLUHLQVWUXFWLRQVDQGRUEDQNVWDWHPHQWV
          o 9DOLGDWHZKHWKHUWKHQDPHRIWKHUHFLSLHQWRIWKHGLVWULEXWLRQDQGGLVWULEXWLRQDPRXQWUHSRUWHGLQ
            3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVPDWFKHVWKHSD\HHUHFLSLHQW¶VQDPHDQGDPRXQWUHFRUGHGLQ
            3XUGXH¶V6$3DFFRXQWLQJV\VWHPDQG
          o $VVHVVZKHWKHUWKHGRFXPHQWVPDLQWDLQHGLQ3XUGXHDQG5KRGHV¶V6$3DFFRXQWLQJV\VWHPSURYLGH
            VXSSRUWIRUKRZ3XUGXHFODVVLILHGWKHGLVWULEXWLRQLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDVHLWKHU
            863DUWQHU&DVK'LVWULEXWLRQV([86&DVK'LVWULEXWLRQVRU7D['LVWULEXWLRQV
 7KHFODVVLILFDWLRQRIGLVWULEXWLRQVSUHVHQWHGLQWKLV&DVK7UDQVIHUVRI9DOXH5HSRUWLVEDVHGXSRQ3XUGXH¶VDQG5KRGH¶V,QWHUQDO

'LVWULEXWLRQ$QDO\VHVDQGWKH2FWREHU0'/3UHVHQWDWLRQ                                                                           
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                                     Special Committee Part 1 Pg 60 of 109



Exhibit A - Cash Distributions Analysis, Detailed Procedures
Performed
 $FFHVVHGDQGUHYLHZHGLQIRUPDWLRQDQGGRFXPHQWVIURP3XUGXH5KRGHVDQG7;3HPSOR\HHV

   í +HOGPHHWLQJVDQGRUFRPPXQLFDWHGZLWK3XUGXH5KRGHVDQG7;3WRJDLQDQXQGHUVWDQGLQJRIWKH
     DFFRXQWLQJIRUDQGTXDQWLILFDWLRQRI&DVK'LVWULEXWLRQVPDGHE\3XUGXHDQG5KRGHVIURP-DQXDU\
     WKURXJK'HFHPEHULQFOXGLQJWKHW\SHVRIGRFXPHQWDWLRQWKDWDUHPDLQWDLQHGE\3XUGXH
     DQG5KRGHVIRUGLVWULEXWLRQV
      o $OLVWRIWKH3XUGXH5KRGHVDQG7;3HPSOR\HHVZHPHWZLWKDQGRUFRPPXQLFDWHGZLWKDERXW&DVK
        'LVWULEXWLRQVLVLQFOXGHGLQ$SSHQGL[$




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Exhibit B – Detailed Reconciliation of Purdue Net
Cash Distributions to Audited Financial
Statements




                                                                                        
                                                 19-23649-shl                              Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                                                                                                                                        Report of
                                                                                                Special Committee Part 1 Pg 62 of 109



Exhibit B - Reconciliation of Purdue’s Internal Distribution
Analysis to Purdue’s Audited Financial Statements1
                                Description                                            2008                          2009                          2010                          2011                          2012                        2013                      2014                      2015                      2016                      2017                   2008 to 2017
863DUWQHU1HW&DVK'LVWULEXWLRQV
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    5HLQYHVWPHQWLQ3XUGXH FRQWUDGLVWULEXWLRQ                                                                                                                                                                                                                                                                      d
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    $FFUXHG'LVWULEXWLRQ1RQ&DVK                                                                                                                                                                                                                                                                                                                                              e
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    7D[5HIXQGV$SSOLHG                                                                                                                                                                                                                                                                                                      d
    3XUGXH$VVRF/3867UXVW                                                                                                                                                                                                                                                                                  c
    3XUGXH$VVRF/37UXVW%                                                                                                                                                                                                                                                                                    c
    1RUZHOO9DUXV                                                                                                       ±                             ±                             ±                             ±                         ±                         ±                ±                                    ±                       ±                           a
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     1RQ7D[                                                                                                                                                                                                                                                                                                                                
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Purdue Distributions:
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$UGVOH\863DUWQHU1HW&DVK'LVWULEXWLRQ,QFOXGHGLQ7RWDO                                                  ±                                                                                                                                                                                                                               ±
$FFUXHG'LVWULEXWLRQ5HYHUVDO                                                                                                                                                                                                                                                                       
5HLQYHVWPHQWLQ3XUGXH FRQWUDGLVWULEXWLRQ                                  ±   ±   ±                                                                    ±    
US Partner Net Cash Distribution                                              $     752,119,882             $     898,949,268             $     859,950,094             $     553,552,043             $     439,341,382             $ 298,318,087             $ 127,505,076             $ 128,788,285             $ 154,073,916             $        198,544          $ 4,212,796,577
Ex-US Cash Distributions                                                                               –                             –          112,381,191                   113,306,433                   122,393,943               234,447,279               232,022,691               297,018,519               247,357,896                                  –    $ 1,358,927,952 f
Investment in Associated Companies                                                    76,107,446                  111,576,000                                                                                                                                                                                                                                         $       187,683,446 g
*URVV7D['LVWULEXWLRQV                                                                                                                                                                                                                                 
7D[5HIXQGV                                                                                                                                                                     ±                           ±                         ±                         ±                                            ±                       
Net Tax Distributions                                                               540,203,118                   710,915,729                 653,842,218                   555,949,174                   459,522,179                 400,849,386               435,568,873               366,110,679               249,273,188               186,541,378                  4,558,775,922
Total Purdue Cash Distributions                                               $ 1,368,430,446               $ 1,721,440,997               $ 1,626,173,503               $ 1,222,807,650               $ 1,021,257,504               $ 933,614,752             $ 795,096,640             $ 791,917,483             $ 650,705,000             $ 186,739,922             $ 10,318,183,897

                                                                                                                                                                                                                                    Total Purdue Distributions                                                                                                        $ 10,318,183,897
                                                                                                                                                                                                                                    /HVVDPRXQWVVKRZQDV,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHV                                                                                 g
                                                                                                                                                                                                                                    Subtotal - equity distributions per books                                                                                         $ 10,130,500,451
                                                                                                                                                                                                                                    Reconciling items:
                                                                                                                                                                                                                                    &DVKGLVWULEXWLRQVE\QRQZKROO\RZQHGQRQ3XUGXHVXEVLGLDULHV(a,b,c)                                                                      
                                                                                                                                                                                                                                    7D[GLVWULEXWLRQVE\QRQZKROO\RZQHGQRQ3XUGXHVXEVLGLDULHV(a,b,c)                                                                        
                                                                                                                                                                                                                                    $FFUXHGGLVWULEXWLRQLQQRWSDLG e                                                                                                       
                                                                                                                                                                                                                                    /RDQVWUHDWHGDVGLVWULEXWLRQV(f)                                                                                                           
                                                                                                                                                                                                                                    Total reconciling items                                                                                                           $       272,243,204
                                                                                                                                                                                                                                    Total equity distributions per audited financial statements                                                                       $ 10,402,743,655

  í 1RWHVWRWKLVUHFRQFLOLDWLRQDUHLQFOXGHGRQWKHIROORZLQJWZRSDJHV
  í 9DULDQFHLQFHUWDLQDPRXQWVGXHWRURXQGLQJGLIIHUHQFHV
7KHUHFRQFLOLDWLRQDERYHLVEDVHGRQ3XUGXH¶VDXGLWHGILQDQFLDOVVWDWHPHQWVWKDWGRQRWLQFOXGHWKHFRPELQHGILQDQFLDOUHVXOWVIRU

5KRGHV                                                                                                                                                                                                                                                                                                                                                                                              
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Exhibit B - Reconciliation of Purdue’s Internal Distribution
Analysis to Purdue’s Audited Financial Statements
1RWHVWR5HFRQFLOLDWLRQRI3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVWRDXGLWHGILQDQFLDOVWDWHPHQWV
D 33/3ZDVD&ODVV%SDUWQHULQ1RUZHOO/DQG&RPSDQ\DQRQZKROO\RZQHG3XUGXHVXEVLGLDU\ ³1RUZHOO´ 
  33/3KDGSDUWLFLSDWLRQLQSURILWVGLVWULEXWLRQVRI1RUZHOODQGRWKHU$IILOLDWHG(QWLWLHVKDG
  
   %HFDXVHWKH&DVK'LVWULEXWLRQVVKRZQLQWKH2FWREHU0'/3UHVHQWDWLRQZHUHLQWHQGHGWR
   UHSUHVHQWGLVWULEXWLRQVRI33/3DQGLWVRZQHGVXEVLGLDULHVWKHPLOOLRQRI&DVK
   'LVWULEXWLRQVLQFOXGHGLQWKH2FWREHU0'/3UHVHQWDWLRQGRQRWLQFOXGHPLOOLRQLQ
   GLVWULEXWLRQVSDLGE\1RUZHOOWRWKH$IILOLDWHG(QWLWLHVZKLFKKHOGDSDUWLFLSDWLRQLQWHUHVW7KLV
   PLOOLRQLQGLVWULEXWLRQVZHUHQRWPDGHWR33/3DQGDUHQRWLQFOXGHGLQ3XUGXH¶V7RWDO1HW&DVK
   'LVWULEXWLRQV
   7KHDXGLWHGILQDQFLDOVWDWHPHQWVRI3XUGXHZKLFKFRPELQH1RUZHOO¶VILQDQFLDOUHVXOWVLQFOXGHWKH
   PLOOLRQRIGLVWULEXWLRQVWR$IILOLDWHG(QWLWLHVDQGWKHUHIRUHWKHPLOOLRQLVOLVWHGDVDUHFRQFLOLQJ
   GLIIHUHQFHEHWZHHQWKH2FWREHU0'/3UHVHQWDWLRQDQGWKHDXGLWHGILQDQFLDOVWDWHPHQWVRQWKH
   SUHYLRXVSDJH)RUWKHVDNHRIFODULILFDWLRQWKLVPLOOLRQGLVWULEXWLRQZDVWUDQVIHUUHGIURP1RUZHOO D
   QRQZKROO\RZQHGVXEVLGLDU\RI33/3 WR$IILOLDWHG(QWLWLHVDQGQRWWR33/3


E .ROWDQ3KDUPDFHXWLFDOVKDUHVFODVVLILHGDVPDUNHWDEOHVHFXULWLHVZHUHGLVWULEXWHGE\33/3LQDQG
  LQFOXGHGDVDFDVKGLVWULEXWLRQLQWKHDXGLWHGILQDQFLDOVWDWHPHQWV7KHPLOOLRQGLVWULEXWLRQZDV
  VKRZQLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDVD1RQ&DVK'LVWULEXWLRQDQGLVDGGUHVVHGLQWKH
  ,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV5HSRUW


F ,NXZD+ROGLQJV,QFDQRQ3XUGXHVXEVLGLDU\SDLGDSSUR[LPDWHO\RIGLVWULEXWLRQVLQ
  7KLVGLVWULEXWLRQDPRXQWZDVQRWLQFOXGHGLQ3XUGXH¶V7RWDO1HW&DVK'LVWULEXWLRQV

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Exhibit B - Reconciliation of Purdue’s Internal Distribution
Analysis to Purdue’s Audited Financial Statements
G 3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVUHIOHFWVJURVVFDVKGLVWULEXWLRQVZKLFKDUHRIIVHWE\UHLQYHVWPHQW
  LQWKHFXPXODWLYHDPRXQWRIPLOOLRQDQGWD[UHIXQGVLQWKHFXPXODWLYHDPRXQWRIPLOOLRQWR
  DUULYHDW1HW&DVK'LVWULEXWLRQV


H 7KH2FWREHU0'/3UHVHQWDWLRQUHSRUWHGDPLOOLRQDFFUXHGGLVWULEXWLRQDVRI'HFHPEHU
  7KH3XUGXH1HW&DVK'LVWULEXWLRQVLQFOXGHWKHPLOOLRQDVDLWHPWKH\HDULWZDV
  DFWXDOO\SDLG$VDUHVXOWWKHUHLVDWLPLQJGLIIHUHQFHEHWZHHQWKH2FWREHU0'/3UHVHQWDWLRQ
  ZKLFKUHSRUWHGGLVWULEXWLRQVRQDQDFFUXDOEDVLVDQG3XUGXH1HW&DVK'LVWULEXWLRQZKLFKDUHUHSRUWHGRQ
  DFDVKEDVLV7KHUHLVQRHIIHFWRQWKH7RWDO1HW&DVK'LVWULEXWLRQVIRUWKHSHULRGIURP-DQXDU\
  WKURXJK'HFHPEHU


I   ([86&DVK'LVWULEXWLRQVPDGHWR$IILOLDWHG(QWLWLHVLQWRWDOLQJPLOOLRQUHSUHVHQWFDVK
    WUDQVIHUVWR35$/3ZKLFK35$/3WKHQWUDQVIHUUHGWR([86$IILOLDWHV$VUHTXLUHGE\*$$3
    PLOOLRQRIWKLVDPRXQWZDVUHFRUGHGDV&DVK'LVWULEXWLRQVLQ3XUGXH¶VDXGLWHGILQDQFLDOVWDWHPHQWVIRUWKH
    \HDUHQGHG'HFHPEHU35$/3VXEVHTXHQWO\LVVXHGSURPLVVRU\QRWHVIRUWKHVHFDVKWUDQVIHUV
    WR3XUGXHDQGWKHIXOODPRXQWVRIWKHVHORDQV PLOOLRQ KDYHVLQFHEHHQUHSDLGLQIXOOZLWK
    LQWHUHVW


J ,QDQG3XUGXHUHSRUWHGFDVKSDLGWR([86$IILOLDWHG(QWLWLHVDVDQ,QYHVWPHQWLQ$VVRFLDWHG
  &RPSDQLHVZKLFKUHSUHVHQWHGFDVKWKDWIORZHGWRDZKROO\RZQHGHQWLW\RI3XUGXHDQGWKHQWRDQ([86
  $IILOLDWHG(QWLW\7KHVHDPRXQWVZHUHUHFRUGHGLQDXGLWHGILQDQFLDOVWDWHPHQWVDVLQYHVWLQJDFWLYLWLHVLQ
  WKHVWDWHPHQWVRIFDVKIORZV



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Exhibit C – Combined Purdue and Rhodes
Detailed Schedules of Cash Transfers
Based upon the reconciliation and testing work we performed on the distribution and loan
information reported in the October 19, 2018 MDL Presentation, Purdue’s Internal Distribution
Analysis, Purdue’s audited financial statements and Purdue’s SAP accounting system, we have
prepared detailed cash transfer schedules included in this Exhibit.
6RXUFH'LVWULEXWLRQDQGORDQDPRXQWVUHSRUWHGLQWKH3XUGXH,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGLGHQWLILHGLQ3XUGXH¶V6$3DFFRXQWLQJV\VWHP
 DFFRXQWVSD\DEOH 'LVWULEXWLRQDQGORDQFODVVLILFDWLRQV 7D[DQG1RQ7D[ XVHGKHUHLQDUHEDVHGXSRQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQG
WKH2FWREHU0'/3UHVHQWDWLRQ

1RWH'LVWULEXWLRQVWR%HDFRQ&RPSDQ\DUHLQFOXGHGLQWKHSD\HHQDPHV%HDFRQ&RDQG%HDFRQ7UXVW&RPSDQ\/LPLWHG




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Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
  7KHVFKHGXOHVSUHVHQWHGRQWKHIROORZLQJSDJHVVKRZFDVKWUDQVIHUVE\SD\HHDQGSD\RUDVUHFRUGHGLQ
  3XUGXHDQG5KRGHV¶V6$3DFFRXQWVSD\DEOHOHGJHU
   í $VLOOXVWUDWHGLQWKHIORZRIIXQGVDQDO\VLVVHFWLRQRIWKLV&DVK7UDQVIHUVRI9DOXH5HSRUW&DVK
     'LVWULEXWLRQVRUGLQDULO\IORZHGXSIURP3XUGXHDQGSDVVHGWKURXJKWRRQHRUPRUHLQWHUPHGLDWH$IILOLDWHG
     (QWLWLHVEHIRUHUHDFKLQJWKHLQWHQGHGUHFLSLHQWRIWKHGLVWULEXWLRQ DFFRUGLQJWRWKHGLVWULEXWLRQ
     DXWKRUL]DWLRQGRFXPHQWVREWDLQHGIURPWKH6$3DFFRXQWLQJV\VWHP 
   í 7KH6$3SD\RUHQWLW\WKDWLVOLVWHGUHSUHVHQWVWKHODVWHQWLW\PDNLQJDGLVWULEXWLRQZKRVHERRNVDQG
     UHFRUGVDUHPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV 7KHLQWHUPHGLDWH
     WUDQVIHUVSDVVHGWKURXJKWKH$IILOLDWHG(QWLWLHVZKRVHERRNVDQGUHFRUGVDUHPDLQWDLQHGLQWKHVDPH
     6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHVDUHXVXDOO\UHFRUGHGE\JHQHUDOOHGJHUHQWU\DQGQRW
     WKURXJKDFFRXQWVSD\DEOH
   í 7KH6$3SD\HHHQWLW\DSSHDUVDVWKHODVWHQWLW\WKDWZDVSDLGE\WKHSD\RUHQWLW\ZKRVHERRNVDQG
     UHFRUGVDUHPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV7KH6$3SD\HH
     HQWLWLHVDUHOLVWHGLQWKHVFKHGXOHVRQWKHIROORZLQJSDJHVDQGWKHERRNVDQGUHFRUGVRIWKRVHSD\HH
     HQWLWLHVDUHQRWPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHV
   í 7KHFODVVLILFDWLRQVRI&DVK'LVWULEXWLRQVDQGORDQVDV7D[DQG1RQ7D[DUHEDVHGXSRQ3XUGXH¶VDQG
     5KRGHV¶V,QWHUQDO'LVWULEXWLRQ$QDO\VHVDQGWKH2FWREHU0'/3UHVHQWDWLRQ




3D\RUHQWLWLHVZKRVHERRNVDQGUHFRUGVDUHPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQG5KRGHVLQFOXGH3XUGXH3KDUPD/3  &RYHQWU\

7HFKQRORJLHV/3  1HZ6XIIRON+ROGLQJV//3  /XFLHQ+ROGLQJV6DUO  $YULR+HDOWK/3  3/3$VVRF+ROGLQJV/3  56-&RPSDQ\   
/3  %5+ROGLQJV$VVRF/3  35$/3  3XUGXH%LR3KDUPD/3  DQG69&3KDUPD/3  
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Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
                                 Non-Tax Cash Transfers Identified in Accounts Payable1 (dollars in thousands)




  í   $QQXDOGLVWULEXWLRQDPRXQWVWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVZHUHLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGWKRVHGLVWULEXWLRQVDUHUHFRUGHGLQWKH3XUGXH¶V
      DXGLWHGILQDQFLDOVWDWHPHQWVDV,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHVIRUWKH\HDUVHQGHG'HFHPEHUDQG7KH&DVK'LVWULEXWLRQDPRXQWVSDLGWR/XFLHQ+ROGLQJV6DUO
      DQGLWVVXEVLGLDULHVLQFOXGHGLQWKLVVFKHGXOHDUHEDVHGRQWKHDQQXDOGLVWULEXWLRQDPRXQWVLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGDXGLWHGILQDQFLDOVWDWHPHQWV

      o   ,QGLYLGXDOGLVWULEXWLRQDPRXQWVSDLGWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVZHUHQRWLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV

      o   $VDUHVXOWRIIRUHLJQFXUUHQF\DGMXVWPHQWVDQGXQDYDLODELOLW\RILQGLYLGXDOWUDQVDFWLRQDPRXQWVLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVHDFKLQGLYLGXDOGLVWULEXWLRQ
          DPRXQWSDLGWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVFRXOGQRWEHLGHQWLILHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHV\VWHP

  í   5D\PRQG56DFNOHU7UXVW%LVWKHQDPHRQWKHEDQNDFFRXQWRIWKHWUXVWWKDWRZQV/LQDULWH+ROGLQJV//&

  í   5D\PRQG56DFNOHU7UXVW%LVWKHQDPHRQWKHEDQNDFFRXQWRIWKHWUXVWWKDWRZQV3HUWKOLWH+ROGLQJV//&

  í   7KHDPRXQWVLGHQWLILHGLQDFFRXQWVSD\DEOHIRULQFOXGHPLOOLRQRIFDVKWUDQVIHUVUHODWHGWRSURPLVVRU\QRWHVLVVXHGE\35$/3WR3XUGXHZKLFK35$/3WKHQ
      WUDQVIHUUHGWR([86$IILOLDWHV7KHVHORDQVKDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW

 1RQ7D[FDVKWUDQVIHUVLQFOXGH&DVK'LVWULEXWLRQVDQGORDQVWKDW3XUGXHPDGHWR35$/3LQ
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                                                     Special Committee Part 1 Pg 68 of 109



Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
                                 Tax Distributions Identified in Accounts Payable1 (dollars in thousands)




  í   $FFRXQWVSD\DEOHDFWLYLW\IRUWKHSD\HH0LFKDHO&RVWDQ]D&3$DUHSD\PHQWVWRYDULRXVVWDWHWD[LQJDXWKRULWLHVPDGHRQEHKDOI RI %HDFRQ&RPSDQ\3XUGXH
      ZLUHGIXQGVWR0LFKDHO&RVWDQ]D&3$ZKLFKZRXOGEHUHVSRQVLEOHIRUUHPLWWLQJWKHHVWLPDWHGTXDUWHUO\SD\PHQWVWRWKHDSSURSULDWHVWDWHDXWKRULWLHV:HDUH
      XQDEOHWRGHWHUPLQHZKHWKHUSD\PHQWVPDGHWR0LFKDHO&RVWDQ]D&3$ZHUHLQWXUQPDGHWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV




:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU
                                                                                                                                                                     
%HDFRQ&RPSDQ\XVHGWKHGLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV
                             19-23649-shl          Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                          Report of
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Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
       Entity-Level Cash Transfers (Non-Tax Cash Transfers1 and Tax Distributions2) by Year (dollars in thousands);
                                                      Page 1 of 4




 1RQ7D[FDVKWUDQVIHUVLQFOXGH&DVK'LVWULEXWLRQVDQGORDQVWKDW3XUGXHPDGHWR35$/3LQ
:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU%HDFRQ    
&RPSDQ\XVHGWKHGLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV
                                 19-23649-shl            Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                    Report of
                                                              Special Committee Part 1 Pg 70 of 109


Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
        Entity-Level Cash Transfers (Non-Tax Cash Transfers1 and Tax Distributions2) by Year (dollars in thousands);
                                                       Page 2 of 4




  í   5D\PRQG56DFNOHU7UXVW%LVWKHQDPHRQWKHEDQNDFFRXQWRIWKHWUXVWWKDWRZQV/LQDULWH+ROGLQJV//&
  í   5D\PRQG56DFNOHU7UXVW%LVWKHQDPHRQWKHEDQNDFFRXQWRIWKHWUXVWWKDWRZQV3HUWKOLWH+ROGLQJV//&
 1RQ7D[FDVKWUDQVIHUVLQFOXGH&DVK'LVWULEXWLRQVDQGORDQVWKDW3XUGXHPDGHWR35$/3LQ
:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU%HDFRQ    
&RPSDQ\XVHGWKHGLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV
                             19-23649-shl          Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                          Report of
                                                        Special Committee Part 1 Pg 71 of 109



Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
       Entity-Level Cash Transfers (Non-Tax Cash Transfers1 and Tax Distributions2) by Year (dollars in thousands);
                                                      Page 3 of 4




 1RQ7D[FDVKWUDQVIHUVLQFOXGH&DVK'LVWULEXWLRQVDQGORDQVWKDW3XUGXHPDGHWR35$/3LQ
:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU%HDFRQ    
&RPSDQ\XVHGWKHGLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV
                              19-23649-shl         Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                               Report of
                                                        Special Committee Part 1 Pg 72 of 109



Exhibit C – Purdue and Rhodes Detailed Schedules of Cash
Transfers
          Entity-Level Cash Transfers (Non-Tax Cash Transfers1 and Tax Distributions2) by Year (dollars in thousands);
                                                         Page 4 of 4




  í   ,QVLWXDWLRQVZKHUHDVLQJOHGLVWULEXWLRQOLVWHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVFRQWDLQVPXOWLSOHDFFRXQWVSD\DEOHSD\PHQWVWRGLIIHUHQWSD\HHVDQGD
      IRUHLJQH[FKDQJH ³);´ DGMXVWPHQWWKHQWKH);DGMXVWPHQWZDVSURUDWHGEDVHGRQHDFKSD\HH¶VLQGLYLGXDOSD\PHQWDPRXQWDVDSHUFHQWDJHRIWKHWRWDO
      GLVWULEXWLRQ7KHDGMXVWPHQWZDVDGGHGWRWKHWRWDOGLVWULEXWLRQVSDLGWRWKHSD\HH

  í   )RUWKHVFKHGXOHVDERYHURXQGLQJHUURUVDUHFRUUHFWHGDWWKHWRWDOOHYHODQGQRWDWWKHLQGLYLGXDOSD\RUVXEWRWDOOHYHO7KHUHIRUHZKLOHWKHWRWDOGLVWULEXWLRQV
      LGHQWLILHGDJUHHVZLWKWKHVXPPDU\VFKHGXOHVWKHUHPD\EHGLIIHUHQFHVGXHWRURXQGLQJZKHQDGGLQJDPRXQWVWRWKHLQGLYLGXDOSD\HHVDQGFRPSDULQJWKRVH
      DPRXQWVWRWKHVXPPDU\VFKHGXOHV

  í   $QQXDOGLVWULEXWLRQDPRXQWVWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVZHUHLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGWKRVHGLVWULEXWLRQVDUH
      UHFRUGHGLQWKH3XUGXH¶VDXGLWHGILQDQFLDOVWDWHPHQWVDV,QYHVWPHQWLQ$VVRFLDWHG&RPSDQLHVIRUWKH\HDUVHQGHG'HFHPEHUDQG7KH&DVK
      'LVWULEXWLRQDPRXQWVSDLGWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVLQFOXGHGLQWKLVVFKHGXOHDUHEDVHGRQWKHDQQXDOGLVWULEXWLRQDPRXQWVLQFOXGHGLQ
      3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGDXGLWHGILQDQFLDOVWDWHPHQWV

      o    ,QGLYLGXDOGLVWULEXWLRQDPRXQWVSDLGWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVZHUHQRWLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV

      o    $VDUHVXOWRIIRUHLJQFXUUHQF\DGMXVWPHQWVDQGXQDYDLODELOLW\RILQGLYLGXDOWUDQVDFWLRQDPRXQWVLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVHDFK
           LQGLYLGXDOGLVWULEXWLRQDPRXQWSDLGWR/XFLHQ+ROGLQJV6DUODQGLWVVXEVLGLDULHVFRXOGQRWEHLGHQWLILHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHV\VWHP

  í   7KHDPRXQWVLGHQWLILHGLQDFFRXQWVSD\DEOHIRULQFOXGHPLOOLRQRIFDVKWUDQVIHUVUHODWHGWRSURPLVVRU\QRWHVLVVXHGE\35$/3WR3XUGXHZKLFK
      35$/3WKHQWUDQVIHUUHGWR([86$IILOLDWHV7KHVHORDQVKDYHVLQFHEHHQUHSDLGLQIXOOZLWKLQWHUHVW




 1RQ7D[FDVKWUDQVIHUVLQFOXGH&DVK'LVWULEXWLRQVDQGORDQVWKDW3XUGXHPDGHWR35$/3LQ
:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU%HDFRQ                                     
&RPSDQ\XVHGWKHGLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV
        19-23649-shl   Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36   Report of
                            Special Committee Part 1 Pg 73 of 109




Exhibit D – Rhodes Detailed Schedules of Cash
Distributions




                                                                                        
                                 19-23649-shl                 Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36                                                                    Report of
                                                                   Special Committee Part 1 Pg 74 of 109



Exhibit D - Rhodes Detailed Schedules of Cash Distributions

                                   Non-Tax Cash Distributions Identified in Accounts Payable1 (dollars in ’000s)


             SAP Payee                            2008            2009            2010              2011               2012              2013              2014               2015              2016             2017           Total
 BEACON CO                                                                                                  $    15,500
 526(%$<0(',&$/&203$1</3                                                                            15,500
               Total                          $          -     $        -     $          -      $ 25,000           $      6,000       $        -       $          -       $          -       $        -       $       -     $    31,000




                                           Tax Distributions Identified in Accounts Payable1 (dollars in '000s)


               SAP Payee                 2008                     2009            2010              2011               2012              2013              2014               2015              2016             2017           Total
 81,7('67$7(675($685<                                                                             $    52,849
 526(%$<0(',&$/&203$1</3                                                                      47,247
 5+2'(,6/$1'',912)7$;$7,21                                                                    7,748
 5,',92)7$;$7,21                                                                                  5,170
 1257+&$52/,1$'(372)5(9(18(                                                                3,147
 %($&21&2                                                                                           2,254
 &203752//(52)0$5</$1'                                                                   1,065
 0,&+$(/&267$1=$&3$&/,(17                                                                       207
 1<6&200,66,21(52)7$;$7,21 ),1                                                                    156
 1(:<25.67$7(,1&20(7$;                                                                               135
 1<&'(3$570(172)),1$1&(                                                                          126
 75($685(567$7(2)2+,2                                                                                65
 .(178&.<67$7(75($685(5                                                                            26
 &7&200,66,21(52)5(9(18(6(59,&(6                                                        23
 %($&2175867&203$1</,0,7('                                                                              1
 &808/$7,9(5281',1*                                                                                 (4)
                 Total               $ 10,400                  $ 8,446        $ 13,957          $      3,356       $ 10,745           $ 9,366          $ 46,942           $ 11,323           $ 5,540          $      140    $   120,215




 Rhodes Total Distributions                   $    10,400      $ 8,446        $    13,957       $    28,356        $    16,745        $ 9,366          $    46,942        $    11,323        $ 5,540          $     140     $   151,215




      í   $FFRXQWVSD\DEOHDFWLYLW\IRUWKHSD\HH0LFKDHO&RVWDQ]D&3$DUHSD\PHQWVWRYDULRXVVWDWHWD[LQJDXWKRULWLHVPDGHRQEHKDOI RI %HDFRQ&RPSDQ\
          3XUGXHZLUHGIXQGVWR0LFKDHO&RVWDQ]D&3$ZKLFKZRXOGEHUHVSRQVLEOHIRUUHPLWWLQJWKHHVWLPDWHGTXDUWHUO\SD\PHQWVWRWKHDSSURSULDWHVWDWH
          DXWKRULWLHV:HDUHXQDEOHWRGHWHUPLQHZKHWKHUSD\PHQWVPDGHWR0LFKDHO&RVWDQ]D&3$ZHUHLQWXUQPDGHWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV




 7KHFODVVLILFDWLRQRI7D[DQG1RQ7D['LVWULEXWLRQVLVEDVHGRQ3XUGXH¶VDQG5KRGH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGWKH2FWREHU0'/3UHVHQWDWLRQ

:HDUHXQDEOHWRGHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHDQG5KRGHVZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU %HDFRQ&RPSDQ\XVHGWKH                                                                                 
GLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJDXWKRULWLHV
        19-23649-shl   Doc 654-1 Filed 12/16/19 Entered 12/16/19 17:42:36   Report of
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Exhibit E – Purdue Cash Distributions Tracing
Analysis




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                                        Special Committee Part 1 Pg 76 of 109



Purdue Cash Distributions Tracing Analysis - Objective and
Procedures Performed
Objective
 7UDFH3XUGXH&DVK'LVWULEXWLRQVDQGORDQV3XUGXHPDGHWR35$/3LGHQWLILHGLQ3XUGXH¶V6$3DFFRXQWV
   SD\DEOHOHGJHUWRDYDLODEOHWKLUGSDUW\EDQNVWDWHPHQWVLQRUGHUWRYDOLGDWHLIWKHGLVWULEXWLRQVDPRXQWV
   SRVWLQJWUDQVDFWLRQGDWHVSD\HHEHQHILFLDU\QDPHVDQGSD\RUHQWLWLHVZHUHFRQVLVWHQWDQGRUVLPLODULQ
   ERWKVRXUFHVRILQIRUPDWLRQ
Procedures Performed
 'HWHUPLQHGWLPHSHULRGDQGHQWLWLHVWRUHYLHZEDVHGRQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGRXU
   UHFRQFLOLDWLRQZRUN%DQNVWDWHPHQWVZHUHDYDLODEOHIRU-XO\RQZDUGVXQOHVVVSHFLILFDOO\UHTXHVWHG
   IURPVWRUDJHE\7;3
 5HYLHZHGEDQNVWDWHPHQWVWRGHWHUPLQHDFFRXQWKROGHUHQWLW\QDPHDQGWLPHSHULRGUHSUHVHQWHG
 (DFK3XUGXH&DVK'LVWULEXWLRQDQGORDQPDGHWR35$/3LGHQWLILHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHOHGJHU
   ZDVFRPSDUHGWRWKHDYDLODEOHEDQNVWDWHPHQWVWRILQGDPDWFKE\SD\RUSD\HHQDPHSRVWLQJWUDQVDFWLRQ
   GDWHDQGDPRXQW
 &HUWDLQWUDQVDFWLRQVZHUHDVVXPHGWREHPDWFKHVHYHQLIFHUWDLQFULWHULDZHUHQRWDQH[DFWPDWFK)RU
   H[DPSOHLIDGLVWULEXWLRQDPRXQWPDWFKHGEXWWKHSD\HHQDPHZDVQRWLQFOXGHGLQWKHEDQNVWDWHPHQW
   DQGWKHSRVWLQJGDWHZDVZLWKLQGD\V EHIRUHRUDIWHU RIWKHWUDQVDFWLRQGDWHLQFOXGHGRQWKHEDQN
   VWDWHPHQWWKHQWKHGLVWULEXWLRQZDVJHQHUDOO\FRQVLGHUHGWREHDPDWFK
   í   ,IDQ\RIWKHFULWHULDZHUHQRWDPDWFKWKHGLVFUHSDQF\ZDVQRWHG
   í   )RUSD\HHQDPHPLVPDWFKHVWKHPRVWFRPPRQUHDVRQZDVWKDWWKHEDQNVWDWHPHQWGLGQRWLQFOXGHDSD\HH
       QDPH
   í   &HUWDLQ);WUDQVDFWLRQVWRPXOWLSOHSD\HHVZHUHJURXSHGWRJHWKHULQWRDVLQJOHWUDQVDFWLRQRQWKHEDQN
       VWDWHPHQW,WLVXQFOHDUIURPWKHEDQNVWDWHPHQWVZKRWKHDFWXDOSD\PHQWUHFLSLHQWVZHUHEXWKDYHEHHQ
       FRQVLGHUHGPDWFKHV:HQRWHGYDULDWLRQVLQWKHGROODUDPRXQWVIRU);WUDQVDFWLRQVRQWKHEDQNVWDWHPHQWVEXW
       DVVXPHGWKDWWKRVHWUDQVDFWLRQVZHUHPDWFKHV

                                                                                                                        
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Purdue Cash Distributions Tracing Analysis – Sources Relied Upon

7KHIROORZLQJW\SHVRIVRXUFHVRILQIRUPDWLRQZHUHDFFHVVHGDQGUHYLHZHGIURP3XUGXHDQG7;3

 &DVK'LVWULEXWLRQVDQGORDQVPDGHWR35$/3LGHQWLILHGLQ3XUGXH¶V6$3DFFRXQWVSD\DEOHOHGJHU

 %DQNVWDWHPHQWVIRU3XUGXHDQG$IILOLDWHG(QWLWLHVIURPWKHEHORZSHULRGVKLJKOLJKWHGLQJUHHQDQG

 %DQNDFFRXQWFKHFNFOHDULQJUHFRQFLOLDWLRQV




                                                                                                          
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
%DVHGXSRQRQWKHWUDFLQJZRUNSHUIRUPHGRQWKH3XUGXH&DVK'LVWULEXWLRQVDQGORDQV3XUGXHPDGHWR35$
/3UHFRUGHGLQWKH6$3DFFRXQWVSD\DEOHOHGJHUWRWKHDYDLODEOHWKLUGSDUW\EDQNVWDWHPHQWVZHKDYHWKH
IROORZLQJREVHUYDWLRQV
 7KHDYDLODEOHWKLUGSDUW\EDQNVWDWHPHQWVLQFOXGHGWUDQVDFWLRQVWRWDOLQJELOOLRQRIZKLFKPDWFKHV
   EHWZHHQWKHWZRVRXUFHVRILQIRUPDWLRQ 6$3DFFRXQWVSD\DEOHOHGJHUDQG%DQN6WDWHPHQWV ZHUHLGHQWLILHG
   IRUWUDQVDFWLRQV(100% of total) WRWDOLQJELOOLRQ(100% of total)




  Note: $ Amount differences above are due to variations in F/X transaction amounts recorded in the accounts
  payable ledger and bank statements. For purposes of the Purdue Cash Distributions tracing analysis, we have
  assumed that these Cash Distributions are matched transactions.
      í 7KHSD\RUHQWLW\FRPSDQ\QDPHOLVWHGDERYHUHSUHVHQWVWKHODVWHQWLW\ QRWDOZD\V3XUGXH PDNLQJDGLVWULEXWLRQ
        ZKRVHERRNVDQGUHFRUGVDUHPDLQWDLQHGLQWKHVDPH6$3DFFRXQWLQJV\VWHPDV3XUGXH7KHLQWHUPHGLDWH
        WUDQVIHUVSDVVHGWKURXJKWKH$IILOLDWHG(QWLWLHVZKRVHERRNVDQGUHFRUGVDUHPDLQWDLQHGLQWKHVDPH6$3
        DFFRXQWLQJV\VWHPDV3XUGXHDUHXVXDOO\UHFRUGHGE\JHQHUDOOHGJHUHQWU\DQGQRWWKURXJKDFFRXQWVSD\DEOH

 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH               
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU%5+ROGLQJV$VVRFLDWHV/3 (QWLW\ 



        Periods for which statements are available:                          $SU± -XQ -XQ± 'HF
        Number of transactions in SAP account payable
                                                                             ± E
        ledger within available bank statement periods:
        Number of transactions matched to bank statements                    (100%) ± E(100%)
        (and as % of total for available statement periods):
        Number of exact matches (payee, amount and date):                    ± P
        Number of payee and amount matches with close                        ± E
        posting date match:1


        Number of amount matches with close posting date                     ± P
        match1 (no payee name listed in bank statement):
                                                                             •   FKHFNVWRWDOLQJPDOODSSHDUWREHWD[SD\PHQWV
                                                                             •   SD\PHQWVWR5RVHED\0HGLFDO&RPSDQ\/3WRWDOLQJP
                                                                             •   SD\PHQWVWR%HDFRQ&RWRWDOLQJP




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH                       
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU3XUGXH3KDUPD/3 (QWLW\ 



        Periods for which statements are available:                                   $XJ± 'HF
        Number of transactions in SAP account payable ledger within
                                                                                      ± P
        available bank statement periods:
        Number of transactions matched to bank statements (and as                     (100%) ± P(100%)
        % of total for available statement periods):
        Number of exact matches (payee, amount and date):                             ± P
        Number of payee and amount matches with close posting                         ± P
        date match:1


        Number of amount matches with close posting date match1                       ± P
        (no payee name listed in bank statement):
                                                                                      •   SD\PHQWVWR1RUWK&DUROLQD'HSWRI5HYHQXHWRWDOLQJP
                                                                                      •   SD\PHQWVWR5RVHED\0HGLFDO&RPSDQ\/3WRWDOLQJP
                                                                                      •   SD\PHQWVWR%HDFRQ&RWRWDOLQJP
                                                                                      •   SD\PHQWVWR7UHDVXUHU6WDWHRI2KLRWRWDOLQJP
                                                                                      •   SD\PHQWVWR6WDWHRI1-WRWDOLQJP
                                                                                      •   SD\PHQWVWR0LFKLJDQ'HSDUWPHQWRI7UHDVXU\WRWDOLQJP
                                                                                      •   SD\PHQWVWR,OOLQRLV'HSDUWPHQWRI5HYHQXHWRWDOLQJN
                                                                                      •   SD\PHQWVWR&RPSWUROOHURI0DU\ODQGWRWDOLQJN
                                                                                      •   SD\PHQWVWR2KLR'HSDUWPHQWRI7D[DWLRQWRWDOLQJN
                                                                                      •   SD\PHQWVWR0DLQH5HYHQXH6HUYLFHVWRWDOLQJN




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH                                 
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU3XUGXH+ROGLQJV/3 (QWLW\ 



        Periods for which statements are available:                                 $SU± -XQ -XQ± 'HF

        Number of transactions in SAP account payable ledger
                                                                                    ± P
        within available bank statement periods:
        Number of transactions matched to bank statements (and                      (100%) ± P(100% – difference due to variations in
        as % of total for available statement periods):                             F/X transaction amounts as explained below)
        Number of exact matches (payee, amount and date):                           ± P

        Number of F/X transactions with close amount and posting                    ± P
        date matches1 (no payee name listed in bank statement) –
                                                                                    •   $OODUH);WUDQVDFWLRQV 86'WR(85
        slight amount differences are likely due to F/X rate
        changes and/or fees:                                                            •   SD\PHQWVWR/XFLHQ+ROGLQJV6DUOWRWDOLQJPLQ
                                                                                            6$3YVPLQEDQNVWDWHPHQWV
                                                                                        •   SD\PHQWVWR$FFDUGL6DUOWRWDOLQJPLQ6$3YV
                                                                                            PLQEDQNVWDWHPHQWV
                                                                                        •   SD\PHQWWR)OLUD6DUOWRWDOLQJPLQ6$3YV
                                                                                            PLQEDQNVWDWHPHQW
        Number of payee and amount matches with close posting                       ± P
        date match:1




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH                                  
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU3XUGXH+ROGLQJV/3 (QWLW\ FRQWLQXHG


        Number of amount                  ± P
        matches with close
                                          •   SD\PHQWVWRYDULRXVIRUHLJQHQWLWLHVDSSHDUWRKDYHEHHQEXQGOHGLQWRSD\PHQWVWRWDOLQJ
        posting date match1 (no               P
        payee name listed in
        bank statement):                  •   SD\PHQWVWRYDULRXVHQWLWLHVWRWDOLQJP
                                              •    SD\PHQWVWR/XFLHQ+ROGLQJV6DUOWRWDOLQJP
                                              •    SD\PHQWVWR$FFDUGL6DUOWRWDOLQJP
                                              •    SD\PHQWVWR%RHWWL&RUSWRWDOLQJP
                                              •    SD\PHQWVWR%ROGLQL&RUSRUDWLRQWRWDOLQJP
                                              •    SD\PHQWVWR&ORYLR&RUSWRWDOLQJP
                                              •    SD\PHQWVWR+D\H]&RUSWRWDOLQJP
                                              •    SD\PHQWVWR0H[FXV&RUSRUDWLRQWRWDOLQJP
                                              •    SD\PHQWVWR0DOWXV&RUSRUDWLRQWRWDOLQJP
                                              •    SD\PHQWVWR+RNRO6DUOWRWDOLQJP
                                              •    SD\PHQWWR6RI\6DUOWRWDOLQJP
                                              •    SD\PHQWVWR)OLUD6DUOWRWDOLQJP
                                              •    SD\PHQWVWR0XQGLSKDUPD3WH/LPLWHGWRWDOLQJP
                                              •    SD\PHQWVWR0XQGLSKDUPD3KDUPDFHXWLFDOV6GQ%KGWRWDOLQJP
                                              •    SD\PHQWWR,QG6DUOWRWDOLQJP
                                              •    SD\PHQWVWR3RUWKRV6DUOWRWDOLQJP
                                              •    SD\PHQWWR6RQWL6DUOWRWDOLQJN




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH                        
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU56-&RPSDQ\/3 (QWLW\ 



        Periods for which statements are available:                                 -XO± 'HF

        Number of transactions in SAP account payable
                                                                                    ± P
        ledger within available bank statement periods:
        Number of transactions matched to bank statements                           (100%) ± P(100%)
        (and as % of total for available statement periods):
        Number of exact matches (payee, amount and date):                           ± P

        Number of payee and amount matches with close                               ± P
        posting date match:1
        Number of amount matches with close posting date                            
        match1 (no payee name listed in bank statement):




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH               
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU3XUGXH%LR3KDUPD/3 (QWLW\ 



        Periods for which statements are available:                                 0D\± 'HF

        Number of transactions in SAP account payable ledger
                                                                                    ± P
        within available bank statement periods:
        Number of transactions matched to bank statements (and                      (100%) ± P(99.9% – difference due to variations in
        as % of total for available statement periods):                             F/X transaction amounts as explained below)
        Number of exact matches (payee, amount and date):                           

        Number of F/X transactions with close amount and posting                    ± P
        date matches1 (no payee name listed in bank statement) –
                                                                                    •   %RWKDUH);WUDQVDFWLRQV 86'WR(85
        slight amount differences are likely due to F/X rate
        changes and/or fees:                                                            •   3D\PHQWWR0XQGLELRSKDUPD/LPLWHGRIPLQ6$3YV
                                                                                            PLQEDQNVWDWHPHQW
                                                                                        •   3D\PHQWWR0XQGLELRSKDUPD/LPLWHGRIPLQ6$3YV
                                                                                            PLQEDQNVWDWHPHQW
        Number of payee and amount matches with close posting                       
        date match:1
        Number of amount matches with close posting date match1                     ± P
        (no payee name listed in bank statement):
                                                                                    •   SD\PHQWVWR0XQGLELRSKDUPD/LPLWHGWRWDOLQJP




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH                                
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU1HZ6XIIRON+ROGLQJ/3 (QWLW\ 



        Periods for which statements are available:                                 -DQ± 'HF

        Number of transactions in SAP account payable
                                                                                    ± P
        ledger within available bank statement periods:
        Number of transactions matched to bank statements                           (100%) ± P(100%)
        (and as % of total for available statement periods):
        Number of exact matches (payee, amount and date):                           

        Number of payee and amount matches with close posting                       
        date match:1
        Number of amount matches with close posting date match1                     ± P
        (no payee name listed in bank statement):
                                                                                    •   PWR0XQGLSKDUPD'HXWVFKODQG*PE+ &R.




 6$3DFFRXQWVSD\DEOHOHGJHUSRVWLQJGDWHFRQVLGHUHGDPDWFKLIZLWKLQ GD\VRIEDQNVWDWHPHQWWUDQVDFWLRQGDWH                  
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Purdue Cash Distributions Tracing Analysis - Observations and
Findings
 )RU%5+ROGLQJV$VVRFLDWHV,QF (QWLW\ 



     Periods for which statements are available:              -XO6HS$SU± -XQ -XQ±
                                                              1RY
     Number of transactions in SAP account payable
                                                              
     ledger within available bank statement periods:
     Number of transactions matched to bank statements:       

     Number of exact matches (payee, amount and date):        QD

     Number of payee and amount matches with close posting    QD
     date match:1
     Number of amount matches with close posting date match   QD
     (no payee name listed in bank statement):




                                                                                                                          
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Purdue Cash Distributions Flow of Funds
Analysis




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Purdue Cash Distributions Flow of Funds Analysis – Cash
Distribution Testing Selections
$VLOOXVWUDWHGLQWKLVVHFWLRQRIWKH&DVK'LVWULEXWLRQ$QDO\VLVZHSHUIRUPHGDIORZRIIXQGVDQDO\VLVRQHDFK
FODVVLILFDWLRQ RI&DVK'LVWULEXWLRQV 1RQ7D[863DUWQHU1RQ7D[([86DQG7D['LVWULEXWLRQV PDGHE\
3XUGXHDQGLQFOXGHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQV$QDO\VLVDQGWKH2FWREHU0'/3UHVHQWDWLRQ
DFURVVYDULRXV\HDUVIURPWKURXJK FROOHFWLYHO\UHIHUUHGWRDVWKH³3XUGXH&DVK'LVWULEXWLRQ7HVWLQJ
6HOHFWLRQV´ 
Purdue Non-Tax Cash Distributions1
• Selection 1 - ([86&DVK'LVWULEXWLRQWRIRUHLJQHQWLW\ &ORYLR&RUSRUDWLRQ )HEUXDU\
• Selection 2  ([86&DVK'LVWULEXWLRQWRIRUHLJQHQWLW\ /XFLHQ+ROGLQJV6DUO -XQH
• Selection 3 ± ([86&DVK'LVWULEXWLRQWR%HDFRQ&RPSDQ\DQG5RVHED\0HGLFDO&RPSDQ\/3'HFHPEHU
• Selection 4  ([86&DVK'LVWULEXWLRQWRIRUHLJQHQWLWLHV 0H[FXV&RUSDQG0DOWXV&RUS -XO\
• Selection 5  ([86&DVK'LVWULEXWLRQWRIRUHLJQHQWLW\ 0XQGLSKDUPD..DND0XQGLSKDUPD-DSDQ -XO\
• Selection 6  ([86&DVK'LVWULEXWLRQWRIRUHLJQHQWLW\ 0XQGLSKDUPD..DND0XQGLSKDUPD-DSDQ -XO\
• Selection 7  863DUWQHU&DVK'LVWULEXWLRQWR%HDFRQ&RPSDQ\DQG5RVHED\0HGLFDO&RPSDQ\/3-XQH
• Selection 8  863DUWQHU&DVK'LVWULEXWLRQWR%HDFRQ&RPSDQ\DQG5RVHED\0HGLFDO&RPSDQ\/30DUFK
• Selection 9  863DUWQHU&DVK'LVWULEXWLRQVWR33,DQG3/3$VVRFLDWHV+ROGLQJV,QF'HFHPEHU 33,DQG
  3/3$VVRFLDWHV+ROGLQJV,QFWKHQ3DLG'LYLGHQGVWR%DQHOD&RUSRUDWLRQ/LQHULWH+ROGLQJV//&DQG3HUWKOLWH
  +ROGLQJV//&

Purdue Tax Distributions
• Selection 10  7D['LVWULEXWLRQIRUHVWLPDWHGIHGHUDOWD[SD\PHQW4
• Selection 11  7D['LVWULEXWLRQIRUHVWLPDWHGIHGHUDOWD[SD\PHQW4
• Selection 12  7D['LVWULEXWLRQIRUHVWLPDWHG&RQQHFWLFXWVWDWHWD[4

 3XUGXH1RQ7D[&DVK'LVWULEXWLRQVLQFOXGH&DVK'LVWULEXWLRQVDQGORDQVWKDW3XUGXHPDGHWR35$/3LQ
                                                                                                                             
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Purdue Cash Distributions Flow of Funds Analysis – Observations
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7KHIROORZLQJVXPPDU\RIREVHUYDWLRQVDQGILQGLQJVLVEDVHGXSRQRXUUHYLHZDQGDQDO\VLVRIYDULRXVVRXUFHVRI
LQIRUPDWLRQREWDLQHGIURP3XUGXHUHODWHGWRWKH3XUGXH&DVK'LVWULEXWLRQ7HVWLQJ6HOHFWLRQV
 3XUGXH'LVWULEXWLRQVPDGHRQRUDIWHU-DQXDU\DUHFODVVLILHGLQWKH2FWREHU0'/3UHVHQWDWLRQDQG
   3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDVHLWKHU
     í 1RQ7D[&DVK'LVWULEXWLRQV 863DUWQHU&DVK'LVWULEXWLRQVDQG([86&DVK'LVWULEXWLRQV 
     í /RDQVPDGHE\3XUGXHWR35$/3
     í 7D['LVWULEXWLRQV IHGHUDODQGVWDWH RU
     í 1RQ&DVK6WRFN'LVWULEXWLRQV VHHWKH,QWHUFRPSDQ\DQG1RQ&DVK7UDQVIHUV5HSRUW 

 3XUGXH&DVK'LVWULEXWLRQ7HVWLQJ6HOHFWLRQVJHQHUDOO\IORZHGXSIURP3XUGXHWRDQGWKURXJK35$/3DQGZHUHHLWKHU
   LQYHVWHGLQ,$&VRUFRQWLQXHGWRIORZXSWKURXJKRWKHUKROGLQJFRPSDQLHVWRWUXVWVHVWDEOLVKHGIRUWKHEHQHILWRIWKH
   6DFNOHU)DPLO\PHPEHUVRUWRWD[LQJDXWKRULWLHV
     í )RUWKH3XUGXH1RQ7D[&DVK'LVWULEXWLRQ7HVWLQJ6HOHFWLRQVGLVWULEXWLRQV JHQHUDOO\IORZHGIURP3XUGXHXSWRDQG
       WKURXJK35$/3DQGRWKHUKROGLQJFRPSDQLHVEHIRUHXOWLPDWHO\EHLQJLQYHVWHGLQ,$&V
       o 863DUWQHU&DVK'LVWULEXWLRQVJHQHUDOO\IORZHGXSWKURXJK35$/3DQGRWKHUKROGLQJFRPSDQLHVWR%HDFRQ
          &RPSDQ\DQG5RVHED\0HGLFDO&RPSDQ\/3
          o ([86&DVK'LVWULEXWLRQVLQFOXGLQJORDQVPDGHE\3XUGXHJHQHUDOO\IORZXSWKURXJK35$/3DQGRWKHUKROGLQJ
            FRPSDQLHVEHIRUHXOWLPDWHO\EHLQJLQYHVWHGLQIRUHLJQ,$&V
     í )RUWKH3XUGXH7D['LVWULEXWLRQ7HVWLQJ6HOHFWLRQVWKHIORZRIGLVWULEXWLRQVGHSHQGHGRQZKHWKHUSD\PHQWZDVWR
        IHGHUDORUVWDWHWD[LQJDXWKRULWLHV
       o )RUIHGHUDO7D['LVWULEXWLRQ7HVWLQJ6HOHFWLRQVDQGGLVWULEXWLRQVJHQHUDOO\IORZHGIURP3XUGXHXSWRDQG
          WKURXJK35$/3DQGRWKHUKROGLQJFRPSDQLHVDQGWKHQWR5RVHED\0HGLFDO&RPSDQ\/3%HDFRQ&RPSDQ\RUD
          WD[LQJDXWKRULW\RQEHKDOIRIWKRVHHQWLWLHV
       o )RUVWDWH7D['LVWULEXWLRQ7HVWLQJ6HOHFWLRQ3XUGXHVHQWIXQGVGLUHFWO\WR5RVHED\0HGLFDO&RPSDQ\/3DQG
          %HDFRQ&RPSDQ\
%DVHGRQGRFXPHQWVLQFOXGHGLQ3XUGXH¶V6$3DFFRXQWLQJV\VWHPWKHVH7D['LVWULEXW RQVUHODWHGWRHVWLPDWHG&RQQHFWLFXWVWDWH WD[HV5RVHED\0HGLFDO&RPSDQ\/3LVD

&RQQHFW FXWUHV GHQWDQGUHTXLUHGWRSD\TXDUWHUO\HVWLPDWHG&RQQHFWLFXWWD[HV%HDFRQ&RPSDQ\LVDIRUHLJQHQWLW\DQGUHTXLUHGWRSD\&RQQHFWLFXWWD[HVDQQXDOO\DWH[WHQVLRQ   
WLPH$VTXDUWHUO\7D['LVWULEXWLRQVZHUHSD GWR5RVHED\0HGLFDO&RPSDQ\/3IRU&RQQHFWLFXWWD[HVDQHTXDOL]LQJ7D['LVWULEXWLRQZDVPDGHWR%HDFRQDWWKHVDPHWLPH
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 3XUGXH¶VDFFRXQWLQJIRUWKH3XUGXH&DVK'LVWULEXWLRQ7HVWLQJ6HOHFWLRQV¶IORZRIIXQGVIURP3XUGXHXSWR
   DQGWKURXJKRQHRUPRUH$IILOLDWHG(QWLWLHVLVFRQVLVWHQWZLWKWKHDYDLODEOHZULWWHQDSSURYDODQG
   DXWKRUL]DWLRQGRFXPHQWVVXSSRUWLQJWKHVHGLVWULEXWLRQV

 )RUWKH3XUGXH1RQ7D[&DVK'LVWULEXWLRQ7HVWLQJ6HOHFWLRQVWKHSD\HHEHQHILFLDU\QDPHUHFRUGHGLQ
   3XUGXH¶VDFFRXQWVSD\DEOHGHWDLORIWKH6$3JHQHUDOOHGJHUV\VWHPPDWFKHVWKHSD\HHEHQHILFLDU\QDPH
   UHSRUWHGLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLV

  í 7KHSD\HHEHQHILFLDU\QDPHLVDOVRFRQVLVWHQWZLWKWKHQDPHOLVWHGLQWKHDYDLODEOHZLUHLQVWUXFWLRQV
    SD\PHQWGHWDLOUHSRUWVSUHSDUHGE\3XUGXH¶V7UHDVXU\'HSDUWPHQWZULWWHQFRQVHQWVRIWKHJHQHUDO
    SDUWQHUHVWLPDWHGWD[FDOFXODWLRQZRUNVKHHWVSUHSDUHGE\3XUGXH¶V7D['HSDUWPHQW QRZ7;3 DQGEDQN
    DFFRXQWVWDWHPHQWV
 3XUGXH¶VFODVVLILFDWLRQRIWKH3XUGXH&DVK'LVWULEXWLRQ7HVWLQJ6HOHFWLRQVDV1RQ7D[&DVK'LVWULEXWLRQVDQG
   7D['LVWULEXWLRQVLQ3XUGXH¶V,QWHUQDO'LVWULEXWLRQ$QDO\VLVDQGWKH2FWREHU0'/3UHVHQWDWLRQ
   DSSHDUVFRQVLVWHQWZLWKWKHLQIRUPDWLRQDQGVXSSRUWLQJGRFXPHQWDWLRQREWDLQHGIURP3XUGXH

  í 7KHERRNVDQGUHFRUGVIRU5RVHED\0HGLFDO&RPSDQ\/3DQG%HDFRQ&RPSDQ\DUHQRWPDLQWDLQHGLQWKH
    VDPH6$3DFFRXQWLQJV\VWHPDV3XUGXHDQGWKHUHIRUHVXEVHTXHQWWUDQVDFWLRQVDQGRUWKHXVHRIIXQGV
    UHFHLYHGE\WKHVH$IILOLDWHG(QWLWLHVFDQQRWEHLGHQWLILHGLQ3XUGXH¶VERRNVDQGUHFRUGV
  í )RUWKH3XUGXH7D['LVWULEXWLRQ7HVWLQJ6HOHFWLRQVWKDWIORZHGIURP3XUGXHGLUHFWO\RULQGLUHFWO\WR
    5RVHED\0HGLFDO&RPSDQ\/3DQGRU%HDFRQ&RPSDQ\WKURXJK$IILOLDWHG(QWLWLHVZHDUHXQDEOHWR
    GHWHUPLQHIURPWKHERRNVDQGUHFRUGVPDLQWDLQHGE\3XUGXHZKHWKHU5RVHED\0HGLFDO&RPSDQ\/3RU
    %HDFRQ&RPSDQ\XVHGWKHGLVWULEXWLRQVWRPDNHWD[UHODWHGSD\PHQWVWRWKHDSSURSULDWHWD[LQJ
    DXWKRULWLHV



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Purdue Non-Tax Cash Distributions




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Selection 1 Purdue Ex-US Cash
Distributions (2017)




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Selection 2 Purdue Ex-US Cash
Distributions (2017)




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